                            UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF OREGON

 In re
                                               Case No. 20-32571-dwh11
 U.S. Outdoor Holding, LLC                       Amended

                                               NOTICE OF ORDER CONFIRMING
                                               CHAPTER 11 PLAN AND
 Debtor(s)                                     COMPENSATION APPLICATIONS



1. This court entered an order on 01/31/2021 confirming the following plan:
   Plan date: 12/03/2020 ,
   Docket #:        131    ,
    Plan proponent: U.S. Outdoor Holding, LLC                                , and,
    If plan was proposed by debtor, the debtor’s address and taxpayer ID#(s) (last 4
    digits) are: 600 NW 14th Ave Ste A, Portland, OR 97209 -- XX-XXX9887


2. The confirmation order is enclosed. Unless a written objection, setting forth specific
   grounds for objections, is filed with the clerk at 1050 SW 6th Ave. #700, Portland, OR
   97204 or 405 E 8th Ave. #2600, Eugene OR 97401, within 21 days of this notice's
   service date in paragraph 3, the court will consider the following applications for
   compensation or administrative expenses, if any, without further notice:

                                                                               Estimate of Case
                                                Total                            Related Post-
                                Total                                            Confirmation
                                               Amount
                              Amount of                         Balance         Compensation
         Applicant                           Paid to Date
                                Final                            Due
                                              Including                      (Indicate if Included in
                               Request
                                              Retainers                      Total Amount of Final
                                                                                    Request)
Vanden Bos & Chapman, LLP      79,539.32        $25,000        66,622.32     $10,000 (not included)

  CFO Selections, LLC          5,321.25            -0-          5,321.25     $12,500 (not included)
Kenneth Eiler, Trustee
                               10,215.00           -0-         10,215.00               N/A




*$25,000 less retainer paid of $12,917.00 and filing fee of $1717.00; $10,366.00 held in trust to be
applied to fees.
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3.    On 03/10/2021 this notice was served by mail on the debtor(s), all creditors, any
      trustee, equity security holders, other parties in interest, and, if known, any
      identified entity subject to an injunction provided for in the plan against conduct not
      otherwise enjoined under the Bankruptcy Code. A list of the names, addresses,
      and methods for service of all parties served on paper is attached.
      See Attached List. (The original Service List is attached to the original copy filed with the Court only.
      Creditors may request a copy of the Service List by contacting the undersigned.)


                            /s/Douglas R. Ricks
                            _________________________________________________
                            Signature                                   Date

                            Douglas R. Ricks
                            _________________________________________________
                            Name

                            Of Attorneys for Debtor
                            _________________________________________________
                            Relationship to Case

                            319 SW Washington St Ste 520, Portland, OR 97204
                            _________________________________________________
                             Service Address

                            _________________________________________________




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                                                                                 DISTRICT OF OREGON
                                                                                      FILED
                                                                                    January 27, 2021
                                                                              Clerk, U.S. Bankruptcy Court



         Below is an order of the court.




                                                                _______________________________________
                                                                           DAVID W. HERCHER
                                                                          U.S. Bankruptcy Judge




                             IN THE UNITED STATES BANKRUPTCY COURT

                                     FOR THE DISTRICT OF OREGON

       In re                                          Bankruptcy Case No.: 20-32571-dwh11

       U.S. Outdoor Holding LLC,                      ORDER CONFIRMING DEBTOR-IN-
                                                      POSSESSION’S CHAPTER 11,
                      Debtor-in-Possession            SUBCHAPTER V, PLAN DATED
                                                      DECEMBER 3, 2020

               Debtor-in-Possession U.S. Outdoor Holding LLC’s (“Debtor-in-Possession” or

      “Debtor”) Chapter 11, Subchapter V, Plan Dated December 3, 2020 (the “Plan”) having

      been filed by the Debtor and a hearing having been held before this Court on January 21,

      2021; and the Court finds that after hearing that the requirements for confirmation set forth

      in 11 U.S.C. §1191(b) are satisfied;

               The Court further finds that the Plan was properly transmitted to creditors and parties

      in interest and that all objections to the Plan, if any, have been resolved

               The Court further finds that the proposed amendments by interlineation set forth

      below to Debtor’s Plan do not adversely change the treatment of the claim of any creditor or

      the interest of any equity security holder who has not accepted in writing the amendments,


Page 1 of 4     ORDER CONFIRMING DEBTOR-IN-POSSESSION’S CHAPTER 11,                 VANDEN BOS & CHAPMAN, LLP
                                                                                               Attorneys at Law
                SUBCHAPTER V, PLAN DATED DECEMBER 3, 2020                             319 SW Washington Street, Suite 520
                                                                                         Portland, Oregon 97204-2690
                                                                                                (503) 241-4869



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      and therefore, such amendments shall be deemed accepted by all creditors and equity

      security holders (if applicable) who have previously accepted the Plan; and

      NOW, THEREFORE, IT IS ORDERED AS FOLLOWS:

              1.   The Chapter 11, Subchapter V, Plan Dated December 3, 2020 filed by the

      Debtor, a copy of which is attached to this Order marked Exhibit A, is confirmed pursuant

      1191(b) as a non consensual plan.

              2.   Without limitation, the following amendments by interlineation to Debtor’s Plan

      shall be made:

                   a. Exhibit 1 to the Plan is deleted and replaced by the revised financial

                       projections attached hereto as Exhibit B.

                   b. Add the following to the end of Article 1.10: “The Debtor shall have the

                       exclusive right to pursue such avoidable transfers within one (1) year

                       following effective date, after such time the Trustee may also pursue such

                       avoidable transfers in the Trustee’s sole discretion.”

                   c. Delete the language in the “Estimated Amount Owed” section in the table

                       for Article 2.1(A), in the row for “Administrative Rent Expense” and replace

                       with the following: “$75,000 (fixed amount based on agreement with

                       claimant)”

                   d. Delete the language in the “Proposed Treatment” section in the table for

                       Article 2.1(A), in the row for “Administrative Rent Expense” and replace

                       with the following: “$50,000 paid from Initial Plan Payment, $25,000 paid

                       within sixty (60) days of the Effective Date”




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                                                                                             Attorneys at Law
               SUBCHAPTER V, PLAN DATED DECEMBER 3, 2020                            319 SW Washington Street, Suite 520
                                                                                       Portland, Oregon 97204-2690
                                                                                              (503) 241-4869



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                   e. Delete the language in the “Estimated Amount Owed” section in the table

                      for Article 2.1(A), in the row for “TOTAL” and replace with the following:

                      “$145,000”

                   f. Add the following to the end of the “Treatment” section in the table for

                      Article 2.2(A), in the row for “Class 7”: “Any remaining secured claim after

                      surrender shall be subject to avoidance under § 545. All remaining

                      amounts due on the Claim in this Class, after surrender of the collateral,

                      avoidance of the remaining secured claim, and payment of the

                      administrative rent component, shall be treated as a general unsecured

                      claim as provided in ¶3(g) of this Plan.”

                   g. Delete the number “30” in the definition for “Effective Date” in Article 9.27

                      and replace with the number “15.”

                   h. Delete the date of “January 31, 2021.” in the definition for “Initial Payment

                      Due Date” in Article 9.33 and replace with “That date that is the same as

                      the Effective Date.”

                                                   ###

       PRESENTED BY:                                  First Class Mail:

       VANDEN BOS & CHAPMAN, LLP                      U.S. Outdoor Holding LLC
                                                      Attn: Edward A. Ariniello
                                                      600 NW 14th Ave Ste A
                                                      Portland, OR 97209
       By:/s/Douglas R. Ricks
          Douglas R. Ricks, OSB #044026               Electronic Mail:
          Of Attorneys for Debtor-in-Possession
                                                      The foregoing was served on all CM/ECF
                                                      participants through the Court's Case
                                                      Management/Electronic Case File system.



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                                                                                             Attorneys at Law
              SUBCHAPTER V, PLAN DATED DECEMBER 3, 2020                             319 SW Washington Street, Suite 520
                                                                                       Portland, Oregon 97204-2690
                                                                                              (503) 241-4869



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       LBR 9021-1 CERTIFICATION
       I certify that I have complied with the
       requirement of LBR 9021-1(a); the form of
       order was circulated prior to the hearing.


       By:/s/Douglas R. Ricks
          Douglas R. Ricks, OSB #044026
          Of Attorneys for Debtor-in-Possession




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                                                                                          Attorneys at Law
              SUBCHAPTER V, PLAN DATED DECEMBER 3, 2020                          319 SW Washington Street, Suite 520
                                                                                    Portland, Oregon 97204-2690
                                                                                           (503) 241-4869



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Douglas R. Ricks, OSB #044026
Daniel C. Bonham, OSB #183104
VANDEN BOS & CHAPMAN, LLP
319 SW Washington St., Ste. 520
Portland, OR 97204
Telephone: 503-241-4869
Fax: 503-241-3731

         Of Attorneys for Debtor-in-Possession


                         IN THE UNITED STATES BANKRUPTCY COURT

                                FOR THE DISTRICT OF OREGON

 In re                                           Case No. 20-32571-dwh11

 U.S. Outdoor Holding LLC,                       CHAPTER 11, SUBCHAPTER V, PLAN
                                                 (Dated: 12/3/2020)
                  Debtor-in-Possession.

                SMALL BUSINESS DEBTOR’S PLAN OF REORGANIZATION

You are encouraged to carefully review the full text of this document, including all exhibits
and attachments, before deciding how to vote on the Plan. To assist you in your review,
please note that a list of definitions and a section of frequently asked questions appear at
the end of this document.

IN ADDITION TO CASTING YOUR VOTE TO ACCEPT OR REJECT THE PLAN, YOU
MAY OBJECT TO CONFIRMATION OF THE PLAN. IF YOU WISH TO OBJECT TO
CONFIRMATION OF THE PLAN, YOU MUST DO SO BY THE DATE SET FORTH IN THE
NOTICE OF CONFIRMATION HEARING, WHICH WILL BE MAILED TO YOU
SEPARATELY.

YOUR BALLOT STATING HOW YOU ARE VOTING ON THE PLAN MUST BE
RETURNED BY DATE PROVIDED IN THE COURT’S ORDER FIXING TIME FOR FILING
ACCEPTANCES OR REJECTIONS OF PLAN; AND NOTICE OF CONFIRMATION
HEARING. THE BALLOT MUST BE MAILED TO THE FOLLOWING ADDRESS: VANDEN
BOS & CHAPMAN, LLP, 319 SW WASHINGTON ST., STE. 520, PORTLAND, OR 97204.

Your rights may be affected by this Plan. You should consider discussing this document
with an attorney.

Questions regarding this Plan may be directed to the Attorneys for the Debtor-in-
Possession using the contact information provided above.




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                                   ARTICLE 1
              HISTORY OF THE BUSINESS OPERATIONS OF THE DEBTOR

      1.1.    Nature of the Debtor’s Business.

       U.S. Outdoor Holding LLC is a limited liability company headquartered in Portland,
Multnomah County, Oregon. Debtor is a retailer and outfitter for outdoor sports and activities,
including camping, hiking, skiing, snowboarding, and more.

      1.2.    History of Business Operations of the Debtor

        The Solomon family opened the U.S. Outdoor store in 1957 after having operated as the
U.S. Army Surplus Store for a time before that. The Solomons moved the U.S. Outdoor Store to
its location on Broadway Street in downtown Portland, Oregon in 1986 and had operated the
store at that same location until 2017. Edward Ariniello purchased the store in 2017 and
organized U.S. Outdoor Holding LLC on April 20 of that same year. On August 30, 2019, U.S.
Outdoor Holding LLC received additional investment from Aaron Unverzagt and Alecia Pollard,
which provided each of them with a membership interest in the Debtor and reduced Edward
Ariniello’s membership interest accordingly. Preceding the filing of this bankruptcy case, Debtor
moved its operations to a new retail location in Northwest Portland. The Debtor’s operation
employs 13 employees (including salaried and hourly employees) at its Portland location.

      1.3.    Filing of the Debtor’s Chapter 11 Case.

      On September 4, 2020, the Debtor filed a voluntary petition for relief under the Bankruptcy
Code. The Chapter 11 case is pending in the Bankruptcy Court in Portland, Oregon.

      1.4.    Legal Structure and Ownership.

      Membership interests in the Debtor are as follows:


              Edward Ariniello:   68.4%
              Aaron Unverzagt: 15.8%
              Alecia Pollard:     15.8%

      1.5.    Debtor’s Assets.

       A Summary of the Debtor’s Assets is included on Exhibit 2, attached hereto. The
valuations for the assets are based on the Debtor’s assessment of the market values.

      1.6.    Debtor’s Liabilities.

      A Claims Summary is included on Exhibit 3, attached hereto.




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       1.7.    Current and Historical Financial Conditions.

       The Debtor’s Financial Performance for 2017, 2018, and 2019 are summarized on Exhibit
5, attached hereto. A balance sheet and profit and loss statement for October 2020 that were
included with most recent Rule 2015 Report are also included with Exhibit 5.

       1.8.    Events Leading to the Filing of the Bankruptcy Case.

         The COVID-19 pandemic, social unrest in Downtown Portland, and the dramatic customer
move to online retail from brick-and-mortar stores has rendered the Debtor’s previous business
model untenable. Leasing a large retail space in Downtown Portland became impossible to
justify, and the Debtor’s recent move attempts to find a more sustainable operation.

       In addition to the above, Debtor's bankruptcy filing has been precipitated by the financing
related to the acquisition of the Debtor by Edward Ariniello. SMI, the Creditor for that financing,
has a significant claim but has failed to properly perfect its security interest in the Debtor’s assets.
Debtor’s position is that Lender’s security interest is avoidable in bankruptcy and SMI’s claim
would then be treated as wholly unsecured.

       SMI is also affiliated with the Debtor’s now-former landlord. As noted above, that lease
was for an above-market rate and comprised a location and space that were incompatible with
the Debtor’s needs and financial situation. Debtor has rejected that lease and intends to assume
the lease for its new location.

       1.9.    Significant Events During the Bankruptcy Case.

       The Debtor has taken a number of steps in anticipation of the filing and confirmation of this
Plan. These include, but are not limited to, the following:

               •   Approval on use of cash collateral through the anticipated Confirmation Date;
               •   Applications to employ General Counsel, a professional CFO, and a tax
                   professional;
               •   Relocation to a more sustainable retail location and rejection of the lease for
                   the prior business location;
               •   Outreach and agreement with a number of important vendors to secure
                   deliveries of new inventory on a prepaid or COD basis; and
               •   Dialogue and consultation with the Trustee to attempt to reach a consensual
                   Plan.

       1.10.   Projected Recovery of Avoidable Transfers.

      The Debtor has not yet completed its investigation with regard to prepetition transactions.
The Debtor anticipates completing its investigation by May 31, 2021 and retains all rights to
pursue any actions arising under chapter 5 of the Code after the Confirmation Date. If you



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received a payment or other transfer of property within 90 days of bankruptcy, the Debtor may
seek to avoid such transfer. Any funds recovered from such avoided transfers shall be used to
make additional payments to Creditors under the Plan.

                                            ARTICLE 2
                                            THE PLAN

       The Debtor's Plan must describe how its Creditors will be paid. Certain Claims are entitled
to specific treatment under the Bankruptcy Code and are not placed in a class for purpose of
payment. For example, Administrative Expenses and Priority Tax Claims are not classified.

        As required by the Code, the Plan places Claims and Equity Interests in various classes
and describes the treatment each class will receive. The Plan also states whether each class of
Claims or Equity Interests is impaired or unimpaired. A Claim or Equity Interest can be impaired if
the Plan alters the legal, equitable or contractual rights to which the Claimants are otherwise
entitled. If the Plan is confirmed, each Creditor’s recovery is limited to the amount provided in the
Plan.

       Only Creditors in classes that are impaired may vote on whether to accept or reject the
Plan, and only Creditors holding Allowed Claims may vote. A class accepts the Plan when more
than one-half (1/2) in number and at least two-thirds (2/3) in dollar amount of the Allowed Claims
that actually vote, vote in favor of the Plan. Also, a class of Equity Interest holders accepts the
Plan when at least two-thirds (2/3) in amount of the allowed Equity Interest holders that actually
vote, vote in favor of the Plan. A class that is not impaired is deemed to accept the Plan.

       2.1.   Unclassified Claims.

       Certain types of Claims are automatically entitled to specific treatment under the Code. For
example, Administrative Expenses and Priority Tax Claims are not classified. They are not
considered impaired, and holders of such Claims do not vote on the Plan. They may, however,
object if, in their view, their treatment under the Plan does not comply with that required by the
Code. As such, the Plan does not place the following Claims in any class:

              A.     Administrative Expenses.

              The Debtor must pay all Administrative Expenses in full. If an Administrative
Expense is disputed, the Bankruptcy Court must determine the validity and amount of the
Administrative Expense, or in other words, "allow" the Administrative Expense. Any
Administrative Expense that is undisputed and is due and owing on the Confirmation Date must
be paid in accordance with this Plan, or upon such other terms as agreed upon by the Debtor and
the Administrative Claimant or court order. If the Administrative Expense is disputed, payment will
be made after the Administrative Expense is allowed by the Bankruptcy Court.

              There are several types of Administrative Expenses, including the following:

              1.     If the Debtor trades in the ordinary course of business following
                     its filing of the Chapter 11 Case, Creditors are entitled to be paid
                     in full for the goods or services provided. This ordinary trade debt


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                    incurred by the Debtor after the Petition Date will be paid on an
                    ongoing basis in accordance with the ordinary business
                    practices and terms between the Debtor and its trade Creditors.

             2.     If the Debtor received goods it has purchased in the ordinary
                    course of business within 20 days before the Petition Date, the
                    value of the goods received is an Administrative Expense.

             3.     Administrative Expenses also include any post-petition fees and
                    expenses allowed to professionals, including the allowed claim
                    of the Trustee for fees and/or reimbursements, and for attorneys
                    and accountants employed upon Bankruptcy Court authority to
                    render services to the Debtor during the course of the Chapter
                    11 cases. These fees and expenses must be noticed to Creditors
                    and approved by the Bankruptcy Court prior to payment.

      The following chart lists the Debtor’s estimated Administrative Expenses, and their
proposed treatment under the Plan:

                    Type                   Estimated Amount Owed          Proposed Treatment
      Expenses arising in the ordinary               None                         N/A
      course of business after the
      Petition Date
      The value of goods received in                 None                         N/A
      the ordinary course of business
      within 20 days before the Petition
      Date
      Administrative Rent Expense        $30,000 (subject to allowance Paid in full from Initial
                                              and any objections)           Plan Payment
      Professional fees, as approved               $60,000            Upon application under
      by the Bankruptcy Court                                         §330 and after
                                                                      Bankruptcy Court
                                                                      approval, paid in full
                                                                      from Initial Plan Payment
      Subchapter V Trustee                         $10,000            Upon application under
                                                                      §330 and after
                                                                      Bankruptcy Court
                                                                      approval, paid in full
                                                                      from Initial Plan Payment
      TOTAL                                        $100,000


             B.     Priority Tax Claims.

               Priority Tax Claims are unsecured income, employment, and other taxes described
by § 507(a)(8) of the Code. Unless the holder of such a § 507(a)(8) Priority Tax Claim agrees
otherwise, it must receive the present value of such Claim, in regular installments paid over a



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period not exceeding 5 years from the order of relief.

             Each holder of a Priority Tax Claim will be paid as set forth in the chart below:

  Name of Taxing Authority          Estimated Amount Owed                      Treatment
 IRS                                        $59,642                This Claim will be paid
                                                                   pursuant to both (1) the stated
                                                                   annual payments in Exhibit 1
                                                                   and (2) on a pro rata basis.
                                                                   Provided, however, that any
                                                                   priority claims under
                                                                   § 507(a)(8) of an amount less
                                                                   than $2,000 may be prepaid
                                                                   at any time as a matter of
                                                                   administrative convenience.
 ODR                                          $24,260              This Claim will be paid
                                                                   pursuant to both (1) the stated
                                                                   annual payments in Exhibit 1
                                                                   and (2) on a pro rata basis.
                                                                   Provided, however, that any
                                                                   priority claims under
                                                                   § 507(a)(8) of an amount less
                                                                   than $2,000 may be prepaid
                                                                   at any time as a matter of
                                                                   administrative convenience.
 DCBS                                         $1,127               This Claim will be paid
                                                                   pursuant to both (1) the stated
                                                                   annual payments in Exhibit 1
                                                                   and (2) on a pro rata basis.
                                                                   Provided, however, that any
                                                                   priority claims under
                                                                   § 507(a)(8) of an amount less
                                                                   than $2,000 may be prepaid
                                                                   at any time as a matter of
                                                                   administrative convenience.
 OED                                          $18,169              This Claim will be paid
                                                                   pursuant to both (1) the stated
                                                                   annual payments in Exhibit 1
                                                                   and (2) on a pro rata basis.
                                                                   Provided, however, that any
                                                                   priority claims under
                                                                   § 507(a)(8) of an amount less
                                                                   than $2,000 may be prepaid
                                                                   at any time as a matter of
                                                                   administrative convenience.




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       2.2.   Classes of Claims and Equity Interests.

       The following are the classes set forth in the Plan, and the proposed treatment that they will
receive under the Plan:

              A.              Classes of Secured Claims.

               Allowed Secured Claims are Claims secured by property of the Debtor’s bankruptcy
estate (or that are subject to setoff) to the extent allowed as secured Claims under § 506 of the
Code. If the value of the collateral or setoffs securing the Creditor’s Claim is less than the amount
of the Creditor’s Allowed Claim, the deficiency will be classified as a general unsecured Claim. In
addition, certain claims secured only by the debtor's principal residence, may require different
treatment pursuant to § 1190(3) of the Code as set forth below, if applicable.

             The following chart lists all classes containing the Debtor’s secured prepetition
Claims and their proposed treatment under the Plan:

                              Claim
 Class Description           Amount         Impairment                     Treatment
   1   SBA                 $150,154.11     Unimpaired       The Claim in this Class shall be treated
                                                            in accordance with the applicable
                                                            agreements with the SBA, including,
                                                            but limited to, payments to be made
                                                            directly to the SBA in the amount of
                                                            $731 per month beginning in June
                                                            2021 and continuing in such amount
                                                            through June 2050.
   2     Tecnica           $50,297.91      Impaired         The Claim in this Class is modified to
                                                            provide for annual payments beginning
                                                            on the Initial Payment Due Date with
                                                            subsequent payments in January of
                                                            each year through the year 2024 as
                                                            outlined on Exhibit 1. Class 2 shall
                                                            accrue interest at the rate of 4.25% per
                                                            annum (WSJ prime rate as of
                                                            12/3/2020 of 3.25% plus a 1% risk
                                                            premium) from the confirmation date.
   3     Burton            $64,302.43      Impaired         The Claim in this Class is modified to
                                                            provide for annual payments beginning
                                                            on the Initial Payment Due Date with
                                                            subsequent payments in January of
                                                            each year through the year 2024 as
                                                            outlined on Exhibit 1. Class 3 shall
                                                            accrue interest at the rate of 4.25% per
                                                            annum (WSJ prime rate as of
                                                            12/3/2020 of 3.25% plus a 1% risk
                                                            premium) from the confirmation date.


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                          Claim
Class Description        Amount       Impairment                   Treatment
  4   NFI               $74,567.20   Impaired      The Claim in this Class is modified to
                                                   provide for annual payments beginning
                                                   on the Initial Payment Due Date with
                                                   subsequent payments in January of
                                                   each year through the year 2024 as
                                                   outlined on Exhibit 1. Class 4 shall
                                                   accrue interest at the rate of 4.25% per
                                                   annum (WSJ prime rate as of
                                                   12/3/2020 of 3.25% plus a 1% risk
                                                   premium) from the confirmation date.
 5     IRS              $92,733.84   Impaired      The Claim in this Class will be paid in
                                                   annual payments beginning on the
                                                   Initial Payment Due Date with
                                                   subsequent payments in January of
                                                   each year through the year 2024 as
                                                   outlined on Exhibit 1. Class 5 shall
                                                   accrue interest at the rate specified by
                                                   § 511(b) from the confirmation date.
 6     Multnomah        $1,609.57    Unimpaired    The Claim in this Class will be paid in
       County                                      its entirety (together with interest at the
                                                   rate allowed under § 511(b) and
                                                   applicable non-bankruptcy law) from
                                                   the Total Payment made on the Initial
                                                   Payment Due Date as outlined on
                                                   Exhibit 1.
 7     Solomon         $193,128.90   Unimpaired    The Claim in this Class will be satisfied
       Trust                                       by surrender of the collateral subject to
                                                   the landlord’s lien (i.e. any personal
                                                   property located on the property in
                                                   connection with the rejected lease with
                                                   Solomon Trust as of the date of such
                                                   rejection) and Debtor’s security
                                                   deposit.
 8     SMI            $1,269,784.99 Impaired       The Disputed Claim in this Class is
                                                   subject to avoidance as the asserted
                                                   lien interest was based on a security
                                                   interest, which was never perfected.
                                                   Debtor shall file an adversary
                                                   proceeding and claim objection no later
                                                   than thirty (30) days after the Effective
                                                   Date for avoidance of the asserted lien
                                                   interest of SMI and disallowance of
                                                   SMI’s secured claim. If the Debtor
                                                   prevails in the adversary proceeding
                                                   and claim objection, then the claim in


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                               Claim
 Class    Description         Amount         Impairment                       Treatment
                                                              this Class shall be treated as a general
                                                              unsecured claim as provided in ¶3(g) of
                                                              this Plan. If the Debtor does not prevail
                                                              in the adversary proceeding and claim
                                                              objection, then within thirty (30) days of
                                                              entry of a non-appealable judgment
                                                              and order in such proceedings, Debtor
                                                              shall amend the Plan to provide for
                                                              treatment on the claim in this Class in
                                                              the same manner as Class 2, herein.

              B.     Classes of Priority Unsecured Claims.

             Certain priority Claims that are referred to in §§ 507(a)(1), (4), (5), (6), and (7) of the
Code are required to be placed in classes. The Code requires that each holder of such a Claim
receive cash on the Effective Date of the Plan equal to the allowed amount of such Claim.
However, a class of holders of such Claims may vote to accept different treatment.

              Debtor believes that all Claims entitled to priority under §§ 507(a)(1), (4), (5), (6),
and (7) of the Code have been satisfied post-petition.

              C.     Classes of General Unsecured Claims.

               General unsecured Claims are not secured by property of the estate and are not
entitled to priority under § 507(a) of the Code.

             The following chart identifies the Plan’s proposed treatment of Class 9, which
contains general unsecured Claims against the Debtor:

  Class         Description           Impairment                          Treatment
    9       General Unsecured       Impaired           The claims in this Class will be paid based
            Class                                      on the amounts required by § 1129(a)(7),
                                                       which the Debtor estimates to be
                                                       $594,390.13 based on the liquidation
                                                       analysis attached hereto as Exhibit 2.
                                                       Creditors will receive approximately 16.5%
                                                       of their claims. Payment of any dividend will
                                                       depend on the amounts of allowed secured,
                                                       priority (including costs of administration
                                                       and the Debtor’s attorney’s fees), and
                                                       nonpriority unsecured claims. Unsecured
                                                       claims will be paid after payment of
                                                       administrative and priority classes on a pro
                                                       rata basis on an annual basis as outlined on
                                                       Exhibit 1.


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                D.    Class of Equity Interest Holders.

               Equity Interest holders are parties who hold an ownership interest (i.e., equity
interest) in the Debtor. In a limited liability company (“LLC”), the Equity Interest holders are the
members.
               The following chart sets forth the Plan’s proposed treatment of the class of Equity
Interest holders:


  Class                   Description                Impairment                Treatment
 10           Equity Interest Holders               Impaired         Equity Interest Holders shall
                                                                     retain such interest in the
                                                                     Debtor post-confirmation in the
                                                                     same manner as such interest
                                                                     was held pre-confirmation.

       2.3.     Treatment of Claims Objections.

        The Debtor may object to the amount or validity of any Claim within 60 days of the
Confirmation Date by filing an objection with the Bankruptcy Court and serving a copy of the
objection on the holder of the Claim. The Claim objected to will be treated as a Disputed Claim under
the Plan. If and when a Disputed Claim is finally resolved by the allowance of the Claim in whole or
in part, the Debtor will pay the Allowed Claim in accordance with the Plan.

       2.4.     Treatment of Executory Contracts and Unexpired Leases.

       Executory Contracts are contracts where significant performance of the contract remains for
both the Debtor and another party to the contract. The Debtor has the right to reject, assume (i.e.
accept), or assume and assign these types of contracts to another party, subject to the Bankruptcy
Court’s approval. The paragraphs below explain the Debtor’s intentions regarding its Executory
Contracts (which includes its unexpired leases) and the impact such intentions would have on the
other parties to the contracts.
       Check all that apply:
       [X] Assumption of Executory Contracts.
        The Executory Contracts shown on Exhibit 4 shall be assumed by the Debtor. Assumption
means that the Debtor has elected to continue to perform the obligations under such contracts and
unexpired leases, and to cure defaults of the type that must be cured under the Bankruptcy Code,
if any. Exhibit 4 also lists how the Debtor will cure and compensate the other party to such contract
or lease for any such defaults.
       If you object to the assumption of your unexpired lease or executory contract, the proposed
cure of any defaults, or the adequacy of assurance of future performance, you must file and serve
your objection to the assumption within the deadline for objecting to the confirmation of the Plan,
unless the Bankruptcy Court has set an earlier time.




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                              OR [ ] Assumption and Assignment of
                            Executory Contracts and Unexpired Leases.

       Assumption and assignment by the Debtor means that the Debtor will undertake the
obligations under such contracts and unexpired leases, will cure defaults of the type that must be
cured under the Bankruptcy Code, if any, and will assign the contract to the party listed.

        If you object to the assumption and assignment of your unexpired lease or executory contract,
the proposed cure of any defaults, or the adequacy of assurance of future performance, you must
file and serve your objection to the assumption and assignment within the deadline for objecting to
the confirmation of the Plan, unless the Bankruptcy Court has set an earlier time.

                              OR [X] Rejection of Executory Contracts
                                      and Unexpired Leases.

       The Debtor will be conclusively deemed to have rejected all executory contracts and/or
unexpired leases not expressly shown on Exhibit 4, or not assumed before the date of the order
confirming the Plan.

       Rejection means that the Debtor has elected not to continue to perform the obligations under
such contracts or leases. If the Debtor has elected to reject a contract or lease, the other party to
the contract or lease will be treated as an unsecured Creditor holding a Claim that arose before the
bankruptcy was filed.

       2.5.   Means for Implementation of the Plan.

        The Plan will be performed and implemented through continued business operations of the
Reorganized Debtor. Based on the Debtor’s Financial Projections, operations will generate
sufficient sales to perform all of the obligations under the plan, which include payment in full on all
Allowed Secured and Priority Tax Claims and payment to Allowed Unsecured Claims in an amount
sufficient to satisfy the requirements of § 1129(a)(7) and § 1191(c).

        On Confirmation of the Plan, all property of the Debtor, tangible and intangible, including,
without limitation, licenses, furniture, fixtures and equipment, will revert, free and clear of all Claims
and Equitable Interests except as provided in the Plan, to the Debtor. The Debtor expects to have
sufficient cash on hand to make the payments required on the Effective Date.
        The Managing Member of the Debtor immediately prior to the Effective Date shall serve as
the initial Managing Member of the Reorganized Debtor on and after the Effective Date. Each
member of the Debtor shall serve in accordance with applicable non-bankruptcy law and the
Debtor’s articles of organization, as each of the same may be amended from time to time.

       2.6.   Payments.

     If the Plan is confirmed under § 1191(a), payments to Creditors provided for in the Plan will
be made by the Trustee pursuant to § 1194(a). Once the Trustee’s service is terminated under §


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1183(c), the Debtor shall make Plan payments except as otherwise provided in the Plan or in the
order confirming the Plan.
       If the Plan is confirmed under § 1191(b), except as otherwise provided in the Plan or in the
order confirming the Plan, the Trustee shall make all Plan payments to creditors under the Plan.

        2.7.   Post-Confirmation Management.

        The Post-Confirmation Officers/Managers of the Debtor, and their compensation, shall be
as follows:


               Edward Ariniello, Managing Member, Salary - $3,000 bi weekly

        2.8.   Tax Consequences of the Plan.

      Creditors and Equity Interest Holders Concerned with How the Plan May Affect Their
Tax Liability Should Consult with Their Own Accountants, Attorneys, And/Or Advisors.

        The following are the anticipated tax consequences of the Plan: (1) Assuming the Plan is
confirmed under § 1191(b), there will be no anticipated tax consequences to the Debtor of the Plan.
Confirmation of the Plan under § 1194(a) would general a loss of tax attributes and higher income
tax liability during the performance of the Plan; (2) Debtor is unaware of any tax consequences on
Creditors of any discharge, and any tax consequences of receipt of Plan consideration after
Confirmation.


        2.9.   Projections in Support of Debtor’s Ability to Make Payments Under the
               Proposed Plan


        Debtor has provided projected financial information. Those projections are listed in Exhibit
1.

                                          ARTICLE 3
                                      FEASIBILITY OF PLAN

       The Bankruptcy Court must find that confirmation of the Plan is not likely to be followed by
the liquidation, or the need for further financial reorganization, of the Debtor or any successor to
the Debtor, unless such liquidation or reorganization is proposed in the Plan.

        3.1.   Ability to Initially Fund Plan.

       The Debtor believes that the Debtor will have enough cash on hand on the Effective Date of
the Plan to pay all the Claims and expenses that are entitled to be paid on the Initial Payment Due
Date. Tables showing the amount of cash on hand on the Effective Date of the Plan, and the
sources of that cash, are attached hereto as Exhibit 1(referenced in § 2.9, above).



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       3.2.   Ability to Make Future Plan Payments And Operate Without Further
              Reorganization.

      The Debtor must submit all or such portion of the future earnings or other future income of
the Debtor to the supervision and control of the Trustee as is necessary for the execution of the
Plan.

       The Debtor has provided projected financial information. Those projections are listed in
Exhibit 1 (referenced in § 2.9, above).


        The Debtor’s financial projections show that the Debtor will have an aggregate annual
average cash flow, after paying operating expenses and post- confirmation taxes, of $370,811. The
final Plan payment is expected to be paid on January 31, 2024.


       The Debtor’s financial projections assume a modest level of year-over-year sales growth
(less than 5% per year) and assume increases in operating expenses at the same rate. This is
consistent with past market experience, with the exception of the past year (due to the unexpected
and overwhelming impact of the COVID-19 pandemic).


      You Should Consult with Your Accountant or other Financial Advisor If You Have Any
Questions Pertaining to These Projections.

                                         ARTICLE 4
                                   LIQUIDATION ANALYSIS.

      To confirm the Plan, the Bankruptcy Court must find that all Creditors and Equity Interest
holders who do not accept the Plan will receive at least as much under the Plan as such Claimants
and Equity Interest holders would receive in a Chapter 7 liquidation. A liquidation analysis is
attached hereto as Exhibit 2.

                                            ARTICLE 5
                                           DISCHARGE.

       5.1.   Discharge As § 1141(d)(3) is not Applicable.

       Discharge. If the Plan is confirmed under § 1191(a), on the Confirmation Date of this Plan,
the Debtor will be discharged from any debt that arose before confirmation of this Plan, subject to
the occurrence of the Effective Date, to the extent specified in § 1141(d) of the Bankruptcy Code;
or

      If the Plan is confirmed under § 1191(b), as soon as practicable after completion by the
Debtor of all payments due under the Plan, unless the court approves a written waiver of discharge
executed by the Debtor after the order for relief under this chapter, the court shall grant the Debtor



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a discharge of all debts provided in section 1141(d)(1)(A) of this title, and all other debts allowed
under section 503 of this title and provided for in this Plan, except any debt—

              (1)    on which the last payment is due after the first 3 years of the
                     plan, or such other time not to exceed 5 years fixed by the
                     court; or
              (2)    if applicable, of the kind specified in section 523(a) of this title.

                                           ARTICLE 6
                                      GENERAL PROVISIONS.

       6.1.   Title to Assets.

        If a plan is confirmed under § 1191(a), except as otherwise provided in the Plan or in the
order confirming the Plan, (i) confirmation of the Plan vests all of the property of the estate in the
Debtor, and (ii) after confirmation of the Plan, the property dealt with by the Plan is free and clear
of all Claims and Equity Interests of Creditors, equity security holders, and of general partners in
the Debtor.

       If a plan is confirmed under § 1191(b), property of the estate includes, in addition to the
property specified in § 541, all property of the kind specified in that section that the Debtor acquires,
as well as earnings from services performed by the Debtor, after the date of commencement of the
case but before the case is closed, dismissed, or converted to a case under chapter 7, 12, or 13 of
the Bankruptcy Code, whichever occurs first. Except as provided in § 1185 of the Bankruptcy Code,
the Plan, or the order confirming the Plan, the Debtor shall remain in possession of all property of
the estate.

       6.2.   Binding Effect.

        If the Plan is confirmed, the provisions of the Plan will bind the Debtor and all Creditors,
whether or not they accept the Plan. The rights and obligations of any entity named or referred to in
this Plan will be binding upon and will inure to the benefit of the successors or assigns of such
entity.

       6.3.   Severability.

       If any provision in this Plan is determined to be unenforceable, the determination will in no
way limit or affect the enforceability and operative effect of any other provision of this Plan.

       6.4.   Retention of Jurisdiction by the Bankruptcy Court.

      The Bankruptcy Court shall retain jurisdiction of this case with regard to the following
matters: (i) to make such orders as are necessary or appropriate to implement the provisions of this



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Plan and to resolve any disputes arising from implementation of the Plan; (ii) to rule on any
modification of the Plan proposed under § 1193; (iii) to hear and allow all applications for
compensation to professionals and other Administrative Expenses; (iv) to resolve all issues
regarding Claims objections, and issues arising from the assumption/rejection of executory
contracts or unexpired leases, and (v) to adjudicate any cause of action which may exist in favor
of the Debtor, including preference and fraudulent transfer causes of action.

       6.5.   Captions.


       The headings contained in this Plan are for convenience of reference only and do not
affect the meaning or interpretation of this Plan.


       6.6.   Nonwaiver of Rights.

       Notwithstanding confirmation of the Plan, Debtor shall retain and does not waive any offsets,
counterclaims, or recoupment against any Creditor. Furthermore, confirmation of the Plan shall not
divest or otherwise disqualify the Debtor for any discount, forgiveness, or other relief from any
Claim provided for in the Plan, including, but not limited to, any forgiveness available pursuant to
Section 1106 of the Coronavirus Aid, Relief, and Economic Security Act (“CARES Act”), any rules
implementing the CARES Act, or any other section of the CARES Act.

       6.7.   Modification of Plan.

      The Debtor may modify the Plan at any time before confirmation of the Plan pursuant to §
1193(a). However, the Bankruptcy Court may require additional items including revoting on the
Plan.
       If the Plan is confirmed under Section 1191(a), the Debtor may also seek to modify the Plan
at any time after confirmation only if (1) the Plan has not been substantially consummated and (2)
the Bankruptcy Court authorizes the proposed modifications after notice and a hearing.
       If the Plan is confirmed under Section 1191(b), the Debtor may seek to modify the Plan at
any time only if (1) it is within 3 years of the Confirmation Date, or such longer time not to exceed
5 years, as fixed by the court and (2) the Bankruptcy Court authorizes the proposed modifications
after notice and a hearing.

       6.8.   Final Decree.
        Once the estate has been fully administered, as provided in Rule 3022 of the Federal Rules
of Bankruptcy Procedure, the Debtor, or such other party as the Bankruptcy Court shall designate
in the Plan Confirmation Order, shall file a motion with the Bankruptcy Court to obtain a final decree
to close the case. Alternatively, the Bankruptcy Court may enter such a final decree on its own
motion.




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                                            ARTICLE 7
                                          ATTACHMENTS

               The following documents accompany the Plan:

              Exhibit 1 – Debtor’s Financial Projections and Schedule of Plan Payments
              Exhibit 2 – Liquidation Analysis
              Exhibit 3 – Claim Summary
              Exhibit 4 – Table of Assumed Leases
              Exhibit 5 – Debtor’s Historical Financial Performance
              Exhibit 6 – Ballot


                                       ARTICLE 8
                               FREQUENTLY ASKED QUESTIONS

       What Is the Debtor Attempting to Do in Chapter 11? Chapter 11 is the principal
reorganization chapter of the Bankruptcy Code. Under Chapter 11, a debtor attempts to restructure
the claims held against it. Formulation and confirmation of a plan of reorganization is the primary
goal of Chapter 11. When reorganization is not feasible, however, a debtor may propose a
liquidating plan under Chapter 11. The plan is the legal document which sets forth the manner and
the means by which holders of claims against a debtor will be treated.


       Why Am I Receiving This Plan? In order to confirm a plan of reorganization, the
Bankruptcy Code requires that a debtor solicit acceptances of a proposed plan, which it is doing
with this Plan. If the creditors are satisfied with the information provided in the Plan and the terms
of the Plan as proposed, and have voted for the Plan and returned the requisite number of ballots
to counsel for the Debtor, the Bankruptcy Court may confirm the Plan as proposed by the Debtor.


        How Do I Determine Which Class I Am In? To determine the class of your claim or interest,
you must first determine whether your claim is secured or unsecured. Your claim is secured if you
have a validly perfected security interest in collateral owned by the Debtor. If you do not have any
collateral, your claim is unsecured. The Table of Contents will direct you to the treatment provided
to the class in which you are grouped. The pertinent section of the Plan dealing with that class will
explain, among other things, who is in that class, what is the size of the class, what you will receive
if the Plan is confirmed, and when you will receive what the Plan has provided for you if the Plan is
confirmed. Article 2.2 lists all classes of claimants and their types of claims.


      Why Is Confirmation of a Plan of Reorganization Important? Confirmation of the Plan is
necessary because if the Plan is confirmed, the Debtor and all of its creditors are bound by the
terms of the Plan. If the Plan is not confirmed, the Debtor may not pay creditors as proposed in the
Plan while the Debtor remains in bankruptcy.



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       What Is Necessary to Confirm a Plan of Reorganization? Confirmation of the Plan
requires, among other things, the vote in favor of the Plan of two- thirds in total dollar amount and
a majority in number of claims actually voting in each voting class. If the vote is insufficient, the
Bankruptcy Court can still confirm the Plan, but only if certain additional elements are shown
including that the plan does not discriminate unfairly, and is fair and equitable, with respect to each
class of claims or interests that is impaired under, and has not accepted, the plan.


        Am I Entitled to Vote on the Plan? Any creditor of the Debtor whose claim is IMPARIED
under the Plan is entitled to vote, if either (i) the creditor’s claim has been scheduled by the Debtor
and such claim is not scheduled as disputed, contingent, or unliquidated, or (ii) the creditor has
filed a proof of claim on or before the last date set by the Bankruptcy Court for such filings. Any
claim to which an objection has been filed (and such objection is still pending) is not entitled to
vote, unless the Bankruptcy Court temporarily allows the creditor to vote upon the creditor’s motion.
Such motion must be heard and determined by the Bankruptcy Court prior to the date established
by the Bankruptcy Court to confirm the Plan.


       How Do I Determine Whether I Am in an Impaired Class? Article 2.2 of the Plan identifies
the classes of creditors whose claims are impaired. If your claim is impaired, your vote will be
considered by the Bankruptcy Court.


         When Is the Deadline by Which I Need to Return My Ballot? The Plan is being distributed
to all claim holders for their review, consideration and approval. The deadline by which ballots must
be returned will be provided separately. Ballots should be mailed to the following address: Vanden
Bos & Chapman, LLP, Attn: Colin, 319 SW Washington St., Ste. 520, Portland, OR 97204. Must
be returned pursuant to the Court’s Order Fixing Time for Filing Acceptances or Rejections of
Plan; and Notice of Confirmation Hearing.



       How Do I Determine When and How Much I Will Be Paid? In Article 2.2 and Exhibit 1,
the Debtor has provided both written and financial summaries of what it anticipates each class of
creditors will receive under the Plan.
                                            ARTICLE 9
                                           DEFINITIONS


        9.1.   The definitions and rules of construction set forth in §§ 101 and 102 of the Bankruptcy
Code shall apply when terms defined or construed in the Code are used in this Plan. The definitions
that follow that are found in the Code are for convenience of reference only and are superseded by
the definitions found in the Code.
     9.2.     Administrative Claimant: Any person entitled to payment of an Administration
Expense.
        9.3.   Administrative Convenience Class: A class consisting of every unsecured claim
that is less than or reduced to an amount that the Bankruptcy Court approves as reasonable and
necessary for administrative convenience.

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       9.4.   Administrative Expense: Any cost or expense of administration of the Chapter 11
case entitled to priority under Section 507(a)(2) of the Code and allowed under Section 503(b) of
the Code, including without limitation, any actual and necessary expenses of preserving the Debtor’s
estate, any actual and necessary expenses incurred following the filing of the bankruptcy petition
by the Debtor-in-Possession, allowances of compensation or reimbursement of expenses to the
extent allowed by the Bankruptcy Court under the Bankruptcy Code, the allowed claim of the
Trustee for fees and/or reimbursements, and any fees or charges assessed against any of the
Debtor’s estates under Chapter 123, Title 28, United States Code.
        9.5.    Administrative Tax Claim: Any tax incurred pursuant to Section 503(b)(1)(B) of the
Code.

       9.6.   Allowed Claim: Any claim against the Debtor pursuant to Section 502 of the Code
to the extent that: (a) a Proof of Claim was either timely filed or was filed late with leave of the
Bankruptcy Court or without objection by the Debtor, and (b) as to which either (i) a party in interest,
including the Debtor, does not timely file an objection, or (ii) is allowed by a Final Order.
       9.7.     Allowed Priority Tax Claim: A Priority Tax Claim to the extent that it is or has
become an Allowed Claim, which in any event shall be reduced by the amount of any offsets,
credits, or refunds to which the Debtor or Debtor-in-Possession shall be entitled on the Confirmation
Date.
      9.8.    Allowed Secured Claim: Allowed Secured Claims are claims secured by property of
the Debtor’s bankruptcy estate (or that are subject to setoff) to the extent allowed as secured claims
under § 506 of the Code.
       9.9.  Allowed Unsecured Claim: An Unsecured Claim to the extent it is, or has become,
an Allowed Claim, which in any event shall be reduced by the amount of any offsets, credits, or
refunds to which the Debtor or Debtor-in-Possession shall be entitled on the Confirmation Date.
       9.10. Bankruptcy Code or Code: The Bankruptcy Reform Act of 1978, as amended and
codified as Title 11, United States Code.
        9.11.   Bankruptcy Court: The United States Bankruptcy Court for the District of Oregon.
        9.12.   Bankruptcy Rules: The Federal Rules of Bankruptcy Procedure.
        9.13.   Burton: The Burton Corporation.
       9.14. Cash: Cash, cash equivalents and other readily marketable securities or instruments
issued by a person other than the Debtor, including, without limitation, readily marketable direct
obligations of the United States of America, certificates of deposit issued by banks and commercial
paper of any entity, including interest accrued or earned thereon.
     9.15. Chapter 11 Case: This case under chapter 11 of the Bankruptcy Code in which U.S.
Outdoor Holding LLC is the Debtor-in-Possession.
        9.16. Claim: Any “right to payment from the Debtor whether or not such right is reduced to
judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed,
legal, equitable, secured or unsecured; or any right to an equitable remedy for future performance
if such breach gives rise to a right of payment from the Debtor, whether or not such right to an
equitable remedy is reduced to judgment, fixed, contingent, matured, disputed, undisputed,
secured or unsecured.” 11 U.S.C. § 101(5).

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       9.17. Class: A category of holders of claims or interests which are substantially similar to
the other claims or interests in such class.
      9.18.   Confirmation: The entry by the Bankruptcy Court of an order confirming this Plan.

       9.19. Confirmation Date: The Date upon which the Bankruptcy Court shall enter the
Confirmation Order; provided however, that if on motion the Confirmation Order or consummation
of the Plan is stayed pending appeal, then the Confirmation Date shall be the entry of the Final
Order vacating such stay or the date on which such stay expires and is no longer in effect.
      9.20.   Confirmation Hearing: The hearing to be held to consider confirmation of the Plan.
       9.21. Confirmation Order: An order of the Bankruptcy Court or any amendment thereto
confirming the Plan in accordance with the provisions of chapter 11 of the Bankruptcy Code.
       9.22. Creditor: Any person who has a Claim against the Debtor that arose on or before the
Petition Date.
      9.23.   DCBS: Oregon Department of Consumer and Business Services.
      9.24. Debtor and Debtor-in-Possession: U.S. Outdoor Holding LLC, the debtor-in-
possession in this Chapter 11 Case.
       9.25. Disputed Claim: Any claim against the Debtor pursuant to Section 502 of the Code
that the Debtor has in any way objected to, challenged or otherwise disputed.
      9.26. Distributions: The property required by the Plan to be distributed to the holders of
Allowed Claims.
      9.27. Effective Date: That date which is 30 days after entry of the order confirming the
plan unless the plan or confirmation order provides otherwise.
      9.28.   Equity Interest: An ownership interest in the Debtor.
      9.29. Executory Contracts: All unexpired leases and executory contracts as described in
Section 365 of the Bankruptcy Code.
       9.30. Final Order: An order or judgment of the Bankruptcy Court that has not been
reversed, stayed, modified or amended and as to which (a) any appeal that has been taken has
been finally determined or dismissed, or (b) the time for appeal has expired and no notice of appeal
has been filed.
      9.31.   IRC: The Internal Revenue Code.
      9.32.   IRS: The Internal Revenue Service.
      9.33.   Initial Payment Due Date: January 31, 2021.
      9.34.   Initial Plan Payment: The payment to be made on the Initial Payment Due Date.
      9.35.   Multnomah County: Multnomah County Department of Revenue and Taxation.
      9.36.   NFI: National Funding, Inc.
      9.37.   ODR: Oregon Department of Revenue.
      9.38.   OED: Oregon Employment Department.
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         9.39.   Petition Date: September 4, 2020, the date the chapter 11 petition for relief was
filed.
       9.40. Plan: This Plan, either in its present form or as it may be altered, amended, or
modified from time to time.
       9.41. Priority Tax Claim: Any Claim entitled to priority in payment under Section 507(a)(8)
of the Bankruptcy Code.
         9.42.   SBA: The U.S. Small Business Administration.
         9.43.   SMI: Solomon Management, Inc.
     9.44. Solomon Trust: Robert D. Solomon, in his capacity as Trustee of the Mervin
Solomon GST Trust UW 9-29-2008.
       9.45. Tecnica: Tecnica Group USA Corp. Reorganized Debtor: The Debtor after the
Effective Date.
      9.46. Schedules: Schedules and Statement of Financial Affairs, as amended, filed by the
Debtor with the Bankruptcy Court listing liabilities and assets.
      9.47.      Secured Creditor: Any creditor that holds a Claim that is secured by property of the
Debtor.
     9.48. Trustee: Kenneth Eiler, the trustee appointed pursuant to 11 U.S.C. § 1183(a) and
whose duties are prescribed under 11 U.S.C. 1183(b), the Plan, or the order confirming the Plan.
        9.49. Unsecured Creditor: Any Creditor that holds a Claim in the Chapter 11 case which
is not a secured Claim.
         9.50.   WSJ: The Wall Street Journal.

Dated: December 3, 2020                           Respectfully submitted;

 VANDEN BOS & CHAPMAN, LLP                         U.S. OUTDOOR HOLDINGS LLC



 By:/s/Douglas R. Ricks                            By:/s/ Edward A. Ariniello
    Douglas R. Ricks, OSB #044026                    Edward A. Ariniello, Manager/Member
    Of Attorneys for Debtor-in-Possession            Debtor-in-Possession




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US Outdoor Holding, LLC - Case No. 20-32571-dwh11


                          Beginning Cash                                                    *     300,000      512,712     429,118      469,456


                                                                       CLAIM     INTEREST
             CLASS                   CREDITOR NAME                    AMOUNT       RATE   Due 1/31/21 Due 1/31/22 Due 1/31/23 Due 1/31/24
             Admin        Vanden Bos & Chapman                            50,000    0%         50,000       5,000       5,000           0
             Admin        CFO Selections, LLC                              5,000    0%          6,000       7,500       5,000           0
             Admin        Willamette Valley Accounting                     4,000    0%          4,000       4,000       4,000           0
             Admin        Solomon Trust (precautionary)                   30,000    0%         30,000           0           0           0
             Admin        Subchapter V Trustee                            10,000    0%         10,000           0           0           0
                                                          Subtotal:                          100,000      16,500      14,000            0

             Class 1      US Small Business Admin                        150,154    3.75%            5,117       8,772        8,772       8,772
             Class 2      Tecnica Group USA Corp                          50,298    4.25%            4,500      49,973            0           0
             Class 3      The Burton Corporation                          64,302    4.25%            8,200      61,335
             Class 4      National Funding Inc                            74,567    4.25%            9,500      71,136
             Class 5      IRS                                             92,734    3.00%            6,000      92,202
             Class 6      Multnomah County                                 1,610   16.00%            1,610           0            0           0
             Class 7      Solomon Trust (see Class 9)                    193,129    0.00%                0           0            0           0
             Class 8      Solomon Management (see Class 9)             1,269,785    0.00%                0           0            0           0
                                                      Subtotal:                                     34,927     283,418        8,772       8,772

             Priority     IRS                                             59,642    3.00%            6,000      57,094              0        0
             Priority     ODR                                             24,260    6.00%            3,000      24,079
             Priority     DCBS                                             1,127    6.00%            1,127           0              0        0
             Priority     Employment Dept                                 18,169    6.00%            2,500      17,765
                                                          Subtotal:                                 12,627      98,938              0        0

             Class 9      General Unsecured Creditors                  3,600,085      0%                 0      50,000     323,795      323,795
                                                          Subtotal:                                      0      50,000     323,795      323,795

                          Total Plan Payments:                                                    147,554      448,856     346,567      332,567
                          Net Cash Carry:                                                         152,446       63,856      82,551      136,889




* Initial $300,000 assumes $150,000 cash on hand and $150,000 in additional financing in the form of Notes convertible to equity.




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                                                                        01/27/21
                                                                        03/10/21
US Outdoor Holding, LLC                                 % Inc.     Jan 21         Feb 21        Mar 21       Apr 21        May 21       Jun 21        Jul 21        Aug 21       Sep 21        Oct 21         Nov 21        Dec 21        2021
Income Statement Projections
    Beginning Cash Balance                                        152,446.00     128,205.49     92,626.02    58,656.93     54,876.49    64,030.45     75,054.82     82,754.71    98,610.02    132,636.91     217,931.41    331,328.80
    Revenue
        46100 · In-Store Sales                                      175,606        131,450       135,750       87,540       105,000      112,000       119,098       121,500      160,020       272,550        338,100       473,340      2,231,954
        46200 · eCommerce Sales
               46201 · Paypal                                        13,800         12,650        10,000       10,000        10,000       10,000        10,000        10,000       10,000        10,000         11,500        11,500       129,450
               46202 · Amazon                                         9,100          8,450         7,800        7,800         7,800        7,800         8,580         9,360        9,750        10,140         12,480        13,650       112,710
               46200 · eCommerce Sales - Other                       30,000         30,000        22,500       25,000        27,500       30,000        32,500        30,000       36,000        52,500         81,000        94,500       491,500
        46000 · Merchandise Sales - Other                             1,500          1,500         1,500               0            0      1,500         2,000         3,000        1,500                0             0              0     12,500
        48300 · Vendor Discounts Given                                       0              0            0                          0             0             0            0            0              0             0              0                          0
        48500 · Refunds and Returns                                    -550           -550          -550         -550          -550         -478          -511          -494         -558          -726          -1,050        -1,197        -7,763
        49000 · Sponsorship and Commissions                                  0              0            0             0            0             0             0            0            0              0             0              0                          0




                                                                                                                                                                                                                                                                                                               01/27/21
                                                                                                                                                                                                                                                                                                               03/10/21
                                                                                                                                                                                                                                                                                                         Filed12/03/20
    Total Revenue                                                   229,456        183,500       177,000      129,790       149,750      160,822       171,667       173,366      216,713       344,464        442,030       591,794      2,970,352
    Cost of Goods Sold
        50000 · Cost of Goods Sold (Inventory)              50%     114,142         91,282        88,048       64,564        74,493       80,000        85,395        86,241      107,803       171,352        219,887       294,386      1,477,592
        50090 · Inventory - Freight -In                      0%         125            125           125          125           125          125           125           125          125           125            125           125         1,500




                                                                                                                                                                                                                                                                                                     90 Filed
        50100 · Cost of Sales
               59700 · eComm | Online Services              10%       5,290          5,110         4,030        4,280         4,530        4,780         5,108         4,936        5,575         7,264         10,498        11,965        73,366
               59800 · Merchant Account Fees                 3%       7,572          6,056         5,841        4,283         4,942        5,307         5,665         5,721        7,152        11,367         14,587        19,529        98,022




                                                                                                                                                                                                                                                                                                 Doc140
                                                                                                                                                                                                                                                                                                     131
        Total 50100 · Cost of Sales                         10%      12,862         11,166         9,871        8,563         9,472       10,087        10,773        10,657       12,727        18,631         25,085        31,494       171,388
        55020 · Rental Fleet                                 0%             0              0                                     48        3,000         7,500            56           70           111          4,500         4,500        19,785




                                                                                                                                                                                                                                                                                  20-32571-dwh11 Doc
        65040 · Repair Shop Expenses                         0%         300                0                                     23              25        300            27           34           350            350           350         1,759
        68200 · Postage/ Shipping                            5%       2,645          2,555         2,015        2,140         2,265        2,390         2,554         2,468        2,788         3,632          5,249         5,983        36,683
    Total COGS                                              70%     130,074        105,127       100,059       75,392        86,426       95,628       106,647        99,574      123,546       194,202        255,196       336,837      1,708,707




                                                                                                                                                                                                                                                                             Case20-32571-dwh11
Gross Profit                                                         99,382         78,373        76,941       54,398        63,324       65,194        65,020        73,793       93,167       150,262        186,835       254,956      1,261,645
    Gross Margin %                                                     43%            43%           43%          42%           42%          41%           38%           43%          43%           44%            42%           43%           42%
    Product Margin %                                                   50%            50%           50%          50%           50%          50%           50%           50%          50%           50%            50%           50%           50%
    Expense
        General & Administrative




                                                                                                                                                                                                                                                 Exhibit A - Page 22 of 38
               60211 · Fuel                                             125            125           125          125           125          125           125           125          125           125            125           125         1,500




                                                                                                                                                                                                                                                                             Case
               60201 · Automobile Expense - Other                       250            250           250          250           250          250           250           250          250           250            250           250         3,000
               60300 · Parking and Tolls                                750                0             0            0             0            0             0             0            0             0              0             0              750
               60400 · Bank Service Charges - Other                         40             40         40              40         40              40            40         40           40               40          40               40             480
               61700 · Computer and Internet Expenses                 1,100          1,100         1,100        1,100         1,100        1,100         1,100         1,100        1,100         1,100          1,100         1,100        13,200
               63300 · Liability Insurance                            2,550          2,550         2,550        2,550         2,550        2,550         2,550         2,550        2,550         2,550          2,550         2,550        30,600
               64300 · Meals and Entertainment 50%                      150            150           150          150           150          150           150           150          150           150            150           150         1,800
               64310 · Meals and Entertainments 100%                    225            225           225          225           225          225           225           225          225           225            225           225         2,700




                                                                                                                                                                                                                                                                                    Exhibit 1 Page 3 of 4
               64400 · Travel                                           200            200           200          200           200          200           200           200          200           200            200           200         2,400
               64900 · Office Supplies                                1,925          1,925         1,925        1,925         1,925        1,925         1,925         1,925        1,925         1,925          1,925         1,925        23,100
               64950 · Software Subscription Expense                    700            700           700          700           700          700           700           700          700           700            700           700         8,400
               66700 · Professional Fees                              2,500          2,500         2,500        2,500         2,500        2,500         2,500         2,500        2,500         2,500          2,500         2,500        30,000
               66900 · Reconciliation Discrepancies                         0              0             0            0             0            0             0             0            0             0              0             0                           0
               68900 · Licenses and Fees                                450            450           450          450           450          450           450           450          450           450            450           450         5,400
US Outdoor Holding, LLC                            % Inc.   Jan 21        Feb 21        Mar 21        Apr 21       May 21       Jun 21        Jul 21        Aug 21       Sep 21       Oct 21        Nov 21       Dec 21        2021
        Total General & Administrative                        10,965        10,215        10,215        10,215       10,215       10,215        10,215        10,215       10,215       10,215        10,215       10,215       123,330
        Occupancy                                                                                              0            0             0             0            0            0             0            0            0                         0
            61100 · Display & Decor Expense                      100           100          100                0            0             0             0            0            0             0            0            0             300
            63600 · Janitorial Expense                           250           250          250                0            0             0             0            0            0             0            0            0             750
            64800 · Furniture & Fixtures < $2500                     0             0             0             0            0             0             0            0            0             0            0            0                         0
            66300 · Business Tax                                 500           500          500                0            0            0             0             0            0            0             0            0       1,500
            67100 · Rent Expense                              30,000        30,000        30,000               0            0            0             0             0            0            0             0            0      90,000
            67200 · Repairs and Maintenance                      750          750           750                0            0            0             0             0            0            0             0            0       2,250
            67250 · Small Equipment                                  0             0             0             0            0            0             0             0            0            0             0            0                         0
            68601 · Telephone Expense                            725          725           725                0            0            0             0             0            0            0             0             0      2,175
            68600 · Utilities - Other                          3,100         3,100         3,100               0            0             0             0            0            0             0            0             0      9,300
        Total Occupancy                                       35,425        35,425        35,425               0            0             0             0            0            0             0            0            0     106,275




                                                                                                                                                                                                                                                                               01/27/21
                                                                                                                                                                                                                                                                               03/10/21
                                                                                                                                                                                                                                                                         Filed12/03/20
        Sales & Marketing                                                                                      0            0             0             0            0            0             0            0            0                         0
            60180 · Advertising and Promotion                  7,486         5,910         5,122               0            0             0             0            0            0             0            0            0      18,518
            60184 · Dues and Memberships                         136           108               93            0            0             0             0            0            0             0            0            0             337
            60187 · Marketing/Public Relation                  1,601         1,264         1,096               0            0             0             0            0            0             0            0            0       3,962




                                                                                                                                                                                                                                                                     90 Filed
            60188 · Events & Classes                             787           621          538                0            0            0             0             0            0            0             0            0       1,947
            60189 · Trade Show Expenses                        4,698         3,709         3,215               0            0            0             0             0            0            0             0            0      11,622
            64500 · Gifts < $25                                      0             0             0             0            0            0             0             0            0            0             0            0                         0




                                                                                                                                                                                                                                                                 Doc140
                                                                                                                                                                                                                                                                     131
            64600 · Gifts > $25                                  145          114                99            0            0            0             0             0            0             0            0             0            358
            68300 · Printing/Reproduction                             0             0             0            0            0             0             0            0            0             0            0             0                        0




                                                                                                                                                                                                                                                                 Doc
            69600 · Consignment Sales Expense                    584           461          400                0            0             0             0            0            0             0            0            0       1,445
        Total Sales & Marketing                               15,437        12,187        10,562               0            0             0             0            0            0             0            0            0      38,187
        60000 · Payroll Expenses




                                                                                                                                                                                                                                                                      20-32571-dwh11
                                                                                                                                                                                                                                                                Case20-32571-dwh11
            60031 · Hourly Labor                              34,440        29,400        28,140        22,190       18,760       18,760        21,560        22,820       23,800       28,980        36,288       36,540       321,678
            60032 · Salary Labor                              16,000        16,000        16,000        16,000       16,000       16,000        16,000        16,000       16,000       16,000        16,000       16,000       192,000
            60050 · Federal Payroll Taxes                      4,287         3,859         3,752         3,246        2,955        2,955         3,193         3,300        3,383        3,823         4,444        4,466        43,663
            60060 · State Payroll Taxes                        2,018         1,816         1,766         1,528        1,390        1,390         1,502         1,553        1,592        1,799         2,092        2,102        20,547
            63400 · Worker's Compensation                        200          200           200            200          50               50            50        50           50               50       200           200         1,500
            66400 · Pension Plan                                 300          300           300            300         300          300            300          300          300           300          300           300         3,600
            66500 · Medical/ Dental Insurance                  4,300         4,300         4,300         4,300        4,300        4,300         4,300         3,500        3,500        3,500         3,500        3,500        47,600




                                                                                                                                                                                                                                              Exhibit A - Page 23 of 38
            66550 · Other Employee Benefits                      100           100          100            100         100           100           100          100          100           100          100           100         1,200




                                                                                                                                                                                                                                                               Case
            66800 · Recruiting Expenses                              50            50            50            0            0             0             0            0       100           100          150               50            550
            68500 · Uniforms                                         0             0             0             0            0            0             0             0            0            0         48               0                   48
            60000 · Payroll Expenses - Other                     100          100           100            100         100          100            100          100          100           100          100           100         1,200
        Total 60000 · Payroll Expenses                        61,795        56,125        54,708        47,964       43,955       43,955        47,105        47,723       48,925       54,753        63,222       63,358       633,586
    Total Expense                                            123,623       113,953       110,910        58,179       54,170       54,170        57,320        57,938       59,140       64,968        73,437       73,573       901,379
    Net Income                                               -24,241       -35,579       -33,969        -3,780        9,154       11,024         7,700        15,855       34,027       85,295       113,397      181,384       360,266




                                                                                                                                                                                                                                  Page 3 of 4
                                                                                                                                                                                                                                  Exhibit 1
              US Outdoor Holding, LLC                Forecast      Forecast      Forecast
              Income Statement & Projections          2021          2022          2023

                         In-Store Sales                2,231,954     2,365,872     2,460,507
                         eCommerce Sales                 733,660       777,680       808,787
                         Merchandise Sales - Other        12,500        13,250        13,780
              Total Revenue                            2,970,352     3,148,573     3,274,516
              Total COGS                               1,708,707     1,866,339     1,940,992
          Gross Profit                                 1,261,645     1,282,234     1,333,524
              Gross Margin %                              42.5%         40.7%         40.7%
                  Total General & Administrative         123,330       127,030       130,841
                  Total Occupancy                        106,275       110,526       114,947
                  Total Sales & Marketing                 38,187        39,333        40,513
                  Total Payroll Expenses                 633,586       640,084       660,317
              Total Expense                              901,379       916,973       946,618


          Net Income                                     360,266       365,261       386,905


          Beginning Cash:                                300,000       152,446        63,856




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                                                           03/10/21
 LIQUIDATION ANALYSIS
 Real Estate

                                                                       Commission &
                                                    Estimated Gross     Closing Costs                             Less Liens/        Net to Seller      Available for
                    Location                       Sales Price/Value      (est. 7%)            Subtotal           Mortgages          Before Taxes        Creditors
 NONE                                                           0.00               0.00                   0.00               0.00               0.00               0.00
 Subtotal, Equity (if any) in Real Estate                       0.00               0.00                   0.00               0.00               0.00               0.00


 Schedule B - Personal Property
                                                                       Commission &
                                                                        Closing Costs                             Less Liens/                           Available for
                     Asset                              Value             (est. 7%)            Lienholder         Mortgages            Net Value         Creditors
 Cash Accounts                                           313,603.00                       IRS/SBA/Mult Cnty           313,603.00                0.00               0.00
 Landlord security deposit                                50,000.00                                                    50,000.00                0.00               0.00
 Solomn Trust - Repair prepayment                        100,000.00                                                          0.00        100,000.00        100,000.00
 Inventory as of 10/25/20                                670,334.67                       Sec Vendors                 120,062.00         550,272.67        550,272.67
 Office Furniture                                          4,005.00            280.35                                        0.00           3,724.65          3,724.65
 IT Hardware                                              37,725.00          2,640.75                                        0.00         35,084.25          35,084.25
 Photography Equipment                                       725.00             50.75                                        0.00             674.25            674.25
 2003 Ford E350                                           15,500.00          1,085.00                                        0.00         14,415.00          14,415.00
 Merchandise Fixtures                                     53,295.50          3,730.69                                        0.00         49,564.82          49,564.82
 Appliances                                                  370.00             25.90                                        0.00             344.10            344.10
 Event Equipment                                           1,835.00            128.45                                        0.00           1,706.55          1,706.55
 Shop Equipment                                           47,929.00          3,355.03                                        0.00         44,573.97          44,573.97
 Store and Brand Signs                                     2,825.00            197.75                                        0.00           2,627.25          2,627.25
 Avoidance Claims [1]                                          0.00                                                          0.00               0.00               0.00
 Third Party Claims [1]                                   40,000.00                                                          0.00         40,000.00          40,000.00

 Subtotal, Equity (if any) in Personal Property     $1,338,147.17                                                $483,665.00         $842,987.51        $842,987.51


 TOTALS:                                            $1,338,147.17          $0.00                $0.00            $483,665.00         $842,987.51        $842,987.51

 FROM EQUITY IN REAL ESTATE:                            $0.00
 FROM EQUITY IN PERSONAL PROPERTY:                   $842,987.51
 TOTAL EQUITY AVAILABLE FOR CREDITORS                $842,987.51


 LESS ADMINISTRATIVE EXPENSES:
 Vanden Bos & Chapman                                    $50,000.00
 Solomon Trust                                           $30,000.00
                                                              $0.00
 Estimated Trustee Attorney & Accountant
 fees/costs                                              $20,000.00
                                                        $100,000.00                          ($100,000.00)

 LESS CHAPTER 7 TRUSTEE FEES:
 Calculation for Trustee's Commission

 Sale Price of Real Property (Less Exemption)                  $0.00
 Sale Price of Personal Property (Less
 Exemption)                                             $842,987.51
 Subtotal:                                              $842,987.51

 25% - First $5,000                                       $1,250.00
 10% - $5,000 - $50,000                                   $4,500.00
 5% - $50,000 - $1,000,000                               $39,649.38
 3% over $1,000,000                                           $0.00
                                                         $45,399.38                          ($45,399.38)

 Subtotal, Available for Creditors                                                           $697,588.13

 LESS PRIORITY CLAIMS:
                                             IRS        ($59,642.00)
                                 OR Emp. Dept           ($18,169.00)
                               Dept of Cons. Fin         ($1,127.00)
                                           ODR          ($24,260.00)                         ($103,198.00)

 LESS SECURED CLAIMS:
                                                                                                $0.00

 TOTAL AVAILABLE FOR UNSECUREDS:                                                             $594,390.13


 [1] Avoidance Claims and Third-Party Claims are litigation claims with an unknown value and an unknown amount of fees and expenses to be incurred before any
 recovery is obtained. As with any litigation claims, there is a risk that the claim will yield little or no recovery. The values listed are merely estimates and do not
 reflect the debtor's maximum recovery, claim amount, a waiver to assert additional amounts, or a willingness to compromise any claims for the amounts listed.


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                                                                       01/27/21
                                                                       03/10/21
             Claim #



                                                            Amt. Owed Per         Amt. Owed Per
  Class #                        Creditor Name               Schedule F              Claim             Difference      Allowed Amount
SECURED
   Class 1    13       The Small Business Administration    $    150,000.00   $       150,154.11   $        (154.11)   $    150,154.11
   Class 2    31       Technica Group USA Corp              $      4,005.38   $        50,297.91   $     (46,292.53)   $     50,297.91
   Class 3    24       The Burton Corporation               $     56,123.18   $        64,302.43   $      (8,179.25)   $     64,302.43
   Class 4    32       National Funding                     $     35,035.43   $        74,567.20   $     (39,531.77)   $     74,567.20
   Class 5    3        IRS                                  $     93,115.20   $        92,733.84   $      93,115.20    $     92,733.84
   Class 6    19       Multnomah County - DART              $           -     $         1,609.57   $      (1,609.57)   $      1,609.57
   Class 7    33       Solomon Trust (see Class 9)          $           -     $       193,128.90   $            -      $    193,128.90
   Class 8    34       Solomon Management (see Class 9)     $           -     $              -     $            -      $           -

PRIORITY
              3        IRS                                  $     23,004.71   $        59,642.26   $     (36,637.55)   $     59,642.26
              28       ODR                                  $     23,148.86   $        24,259.51   $      (1,110.65)   $     24,259.51
              1        Department of Consumer Bus Svc       $      1,187.16   $         1,126.61   $          60.55    $      1,126.61
              4        Oregon Employment Department         $     20,976.90   $        18,169.26   $       2,807.64    $     18,169.26
                                           Subtotal Class   $     68,317.63   $       103,197.64   $     (34,880.01)   $    103,197.64

GENERAL UNSECURED CREDITORS                                                                        $           -
  Class 9      Aaron Unverzagt                              $     50,000.00   $              -     $     50,000.00     $     50,000.00
  Class 9      Airblaster, LLC                              $     23,174.34   $              -     $     23,174.34     $     23,174.34
  Class 9   29 Amer Sports                                  $    100,463.28   $       147,840.74   $    (47,377.46)    $    147,840.74
  Class 9   9 American Express                              $     54,867.51   $        54,867.51   $           -       $     54,867.51
  Class 9      Arcteryx Equipment                           $     54,401.76   $              -     $     54,401.76     $     54,401.76
  Class 9   15 Black Crows Corp                             $     20,298.95   $        17,766.29   $      2,532.66     $     17,766.29
  Class 9      Bonfire                                      $      3,105.63   $              -     $      3,105.63     $      3,105.63
  Class 9      Bula Sports USA, INC                         $      2,908.05   $              -     $      2,908.05     $      2,908.05
  Class 9   5 C3 Worldwide, LLC                             $     43,565.52   $        35,325.18   $      8,240.34     $     35,325.18
  Class 9   20 Capital One - Spark Card                     $     26,847.65   $        27,189.51   $       (341.86)    $     27,189.51
  Class 9      Carrie Lattimer-Ariniello                    $     76,318.01   $              -     $     76,318.01     $     76,318.01
  Class 9   14 Chase Cardmember Service                     $     14,951.60   $        14,951.60   $           -       $     14,951.60
  Class 9      City of Portland                             $      1,550.50   $              -     $      1,550.50     $      1,550.50
  Class 9      Clockwork Brand Management                   $        862.13   $              -     $        862.13     $        862.13
  Class 9   7 Conductor                                     $      6,750.00   $        27,000.00   $    (20,250.00)    $     27,000.00
  Class 9      Criteo Corp                                  $      5,788.65   $              -     $      5,788.65     $      5,788.65
  Class 9      Dakine Inc.                                  $     46,744.87   $              -     $     46,744.87     $     46,744.87
  Class 9   10 DC Shoes/Boardriders Wholesale               $      6,352.40   $         6,352.40   $           -       $      6,352.40
  Class 9      Earth2O                                      unknown           $              -     unknown             unknown
  Class 9      Goode                                        $      1,422.61   $              -     $      1,422.61     $      1,422.61
  Class 9      Gordini                                      $      5,893.85   $              -     $      5,893.85     $      5,893.85
  Class 9      Group Rossignol USA, Inc.                    $     41,856.88   $              -     $     41,856.88     $     41,856.88
  Class 9      Hestra Gloves, LLC                           $      7,643.80   $              -     $      7,643.80     $      7,643.80
  Class 9   6 Huser Intergrated Technologies                $      2,077.00   $              -     $      2,077.00     $           -
  Class 9   3 IRS                                           $           -     $        79,905.11   $    (79,905.11)    $     79,905.11
  Class 9      Jupa Sports                                  $      5,531.68   $              -     $      5,531.68     $      5,531.68
  Class 9   27 K2 Sports                                    $     43,466.96   $        40,166.85   $      3,300.11     $     40,166.85
  Class 9   21 KeyBank National Association                 $    266,607.00   $       267,892.56   $     (1,285.56)    $    267,892.56
  Class 9      KPTV Digital                                 $      6,595.00   $              -     $      6,595.00     $      6,595.00
  Class 9      Kulkea                                       $      1,914.49   $              -     $      1,914.49     $      1,914.49
  Class 9      Liberty Skis Corporation                     $     12,347.00   $              -     $     12,347.00     $     12,347.00
  Class 9      Loser Machine, LLC                           $        614.44   $              -     $        614.44     $        614.44
  Class 9   2 Luxottica of America                          $     38,431.51   $        38,431.51   $           -       $     38,431.51


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                                                                       03/10/21
          Claim #



                                                              Amt. Owed Per      Amt. Owed Per
Class #                          Creditor Name                 Schedule F           Claim             Difference       Allowed Amount
Class 9             Mammut Sports Group                      $     14,762.34   $             -     $      14,762.34    $     14,762.34
Class 9    23       Marchon Eyewear, Inc.                    $      6,624.68   $        6,552.70   $          71.98    $      6,552.70
Class 9    26       Marker Volkl US, Inc.                    $     35,063.92   $       40,166.85   $      (5,102.93)   $     40,166.85
Class 9             Marmot Mountain, LLC                     $     19,590.00   $             -     $      19,590.00    $     19,590.00
Class 9             MEDIAmerica, Inc.                        $      7,700.00   $             -     $       7,700.00    $      7,700.00
Class 9             Mervin Solomon Estate                    unknown           $             -     unknown             unknown
Class 9    22       Motion Water Sports                      $      6,764.82   $        6,306.87   $         457.95    $      6,306.87
Class 9             Nidecker US                              $      5,517.65   $             -     $       5,517.65    $      5,517.65
Class 9             Nikita                                   $      1,924.99   $             -     $       1,924.99    $      1,924.99
Class 9             Nils                                     $     17,046.54   $             -     $      17,046.54    $     17,046.54
Class 9             Nitro Snowboards & L1 Outerwear          $     22,082.52   $             -     $      22,082.52    $     22,082.52
Class 9             Nordica USA                              $      7,917.58   $             -     $       7,917.58    $      7,917.58
Class 9     8       Sport Obermeyer Ltd                      $     11,866.09   $       11,866.09   $            -      $     11,866.09
Class 9             O'neill Wetsuits LLC                     $      2,733.50   $             -     $       2,733.50    $      2,733.50
Class 9    28       ODR                                      $           -     $          427.52   $        (427.52)   $        427.52
Class 9    4        Oregon Employment Department             $           -     $       13,459.17   $     (13,459.17)   $     13,459.17
Class 9             Phillip A & Priscilla S. Unverzagt Trust $    150,000.00   $             -     $    150,000.00     $    150,000.00
Class 9    35       POC USA                                  $           -     $        6,596.93   $      (6,596.93)   $      6,596.93
Class 9    11       Boardriders Wholesale                    $      6,082.51   $        6,414.71   $        (332.20)   $      6,414.71
Class 9             Rhythm Swin                              unknown           $             -     unknown             unknown
Class 9             Rosenthal & Rosenthal, INC               $      6,845.93   $             -     $       6,845.93    $      6,845.93
Class 9             SCARPA North America, Inc                $      3,839.57   $             -     $       3,839.57    $      3,839.57
Class 9             Si Products - Sunince                    $      2,405.67   $             -     $       2,405.67    $      2,405.67
Class 9             Smith Sport Optics                       $     27,706.16   $             -     $      27,706.16    $     27,706.16
Class 9    16       Sole Technology                          $     24,888.43   $       24,746.59   $         141.84    $     24,746.59
Class 9    33       Solomon Trust (see Class 9)              $           -     $     518,329.01    $            -      $    518,329.01
Class 9    34       Solomon Management (see Class 9)         $ 1,250,000.00    $   1,269,784.99    $     (19,784.99)   $ 1,269,784.99
Class 9    12       Spark R&D                                $      5,941.00   $        5,941.00   $            -      $      5,941.00
Class 9             Strafe Outerwear                         $      1,526.53   $             -     $       1,526.53    $      1,526.53
Class 9             Thyssenkrupp Elevator                    $        832.01   $             -     $         832.01    $        832.01
Class 9             Triple T Trading Ltd                     $        764.50   $             -     $         764.50    $        764.50
Class 9             UPS                                      $      3,828.94   $             -     $       3,828.94    $      3,828.94
Class 9    25       US Bank Credit Card                      $     28,237.50   $       28,725.14   $        (487.64)   $     28,725.14
Class 9             VF Outdoor                               $     10,782.10   $             -     $      10,782.10    $     10,782.10
Class 9    30       VF Outdoor                               $     15,366.66   $       15,366.66   $            -      $     15,366.66
Class 9    30       VF Outdoor                               $     36,420.74   $       36,420.04   $           0.70    $     36,420.04
Class 9    30       VF Outdoor LLC - Reef                    $      2,482.72   $        4,916.83   $      (2,434.11)   $      4,916.83
Class 9    30       VF - The North Face Outdoor, LLC         $     91,892.16   $       91,892.16   $            -      $     91,892.16
Class 9             Vista Outdoor/Bell Sports                $      4,139.65   $             -     $       4,139.65    $      4,139.65
Class 9             Volcom, LLC                              $     82,470.63   $             -     $      82,470.63    $     82,470.63
Class 9    17       Westlife Distribution LLC                $      4,000.00   $        4,015.00   $         (15.00)   $      4,015.00
Class 9             Willamette Week                          $      2,950.00   $             -     $       2,950.00    $      2,950.00
Class 9             Workman                                  $      1,046.70   $             -     $       1,046.70    $      1,046.70
Class 9             World Famous Sport, Inc.                 $      1,798.11   $             -     $       1,798.11    $      1,798.11
Class 9    18       Wolverine World Wide Inc.                $           -     $        1,581.72   $      (1,581.72)   $      1,581.72
                                                             $           -     $             -     $            -      $           -
                                            Subtotal Class 9 $ 2,899,195.92    $   2,851,199.24    $    566,325.69     $ 3,600,084.55




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U.S. Outdoor Holding, LLC                          EXHIBIT 4
Case No. 20-32571-dwh11
                                  LEASES AND EXECUTORY CONTRACTS
                                   TO BE ASSUMED AND/OR REJECTED




    NO.     U.S. OUTDOOR HOLDING, LLC - LEASES/EXECUTORY CONTRACTS                      ASSUMED REJECTED
     1 Marketplace I & II, LLC, c/o PREM Group, Inc., 139 SE Taylor St., Portland, OR      X
        97214 - Lease of commercial property located at 600 NW 14th Ave, Portland, OR
        dated 8/31/20; no cure due.




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                     Historical Financial Information for the Past 3 Years



                  Income                      2019
    Gross receipts or sales I 1a I         $1,842,732.00
    Returns and allowances                    $34,358.00
    Balance                                $1,808,374.00
    Cost of goods sold                       $949,820.00
    Gross profit.                            $858,554.00
    Other Income
    Total income                             $858,544.00

    Expenses:
    Salaries and wages (other than to        $395,048.00
    partners) (less employment credits)

    Guaranteed payments to partners
    11 Repairs and maintenance                 $1,601.00
     Bad debts
    Rent                                     $120,000.00
    Taxes and licenses                        $53,833.00
    Interest                                 $158,019.00
    Depreciation                               $2,626.00
    Employee benefit programs                 $23,602.00
    Other deductions                         $296,948.00
    Total Deductions                       $1,051,677.00
    Ordinary Bsiness income (Loss)          -$193,123.00

    The above information was taken from the Debtor's U.S. Return of Partnership Income. Copies
    of redacted return will be provided upon request to the U.S. Trustee's office and the Court.




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                    Historical Financial Information for the Past 3 Years



                        Income                        2018
          Gross receipts or sales I 1a I             $6,167,166.00
          Returns and allowances                       $749,646.00
          Balance                                    $5,417,520.00
          Cost of goods sold                         $2,629,102.00
          Gross profit.                              $2,788,418.00
          Other Income                                  $21,541.00
          Total income                               $2,809,959.00

          Expenses:
          Advertising                                  $105,614.00
          Car and truck expenses                         $9,622.00
          Commissions and fees                             $411.00
          Depreciation and section 179                  $17,440.00
          expense deduction
          Employee benefit programs                    $113,127.00
          Insurance                                     $27,552.00
          Interest:
          a) Mortgage
          b) Other                                      $54,125.00
          Legal and professional services               $63,448.00
          Office expense                                $27,888.00
          Pension and profit-sharing plans               $9,177.00
          Rent or lease:
          a) Vehicles, machinery, and
          equipment
          b) Other business property                   $409,915.00
          Repairs and maintenance                       $11,759.00
          Supplies
          Taxes and licenses                           $224,241.00
          Travel and meals:
          a) Travel                                      $9,106.00
          b) Deductible meals                            $3,651.00
          Utilities                                     $35,413.00
          Wages (less employment credits)            $1,333,640.00
          Other expenses                               $896,367.00
          Total Expenses                             $3,352,496.00
          Tentative profit or (loss).                 -$541,537.00


          The above information was taken from the Debtor's principal's 1040 - Schedule
          C Income Tax filing - Copies of the redacted return will be provided upon
          request to the U.S. Trustee's office and the Court.




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                    Historical Financial Information for the Past 3 Years



                        Income                        2017
          Gross receipts or sales I 1a I             $4,255,919.00
          Returns and allowances
          Balance                                    $4,255,919.00
          Cost of goods sold                         $2,473,052.00
          Gross profit.                              $1,782,867.00
          Other Income                                     $894.00
          Total income                               $1,783,761.00

          Expenses:
          Advertising                                  $105,664.00
          Car and truck expenses                        $10,803.00
          Commissions and fees                             $411.00
          Depreciation and section 179                  $64,926.00
          expense deduction
          Employee benefit programs                     $69,415.00
          Insurance                                     $18,608.00
          Interest:
          a) Mortgage
          b) Other
          Legal and professional services               $48,188.00
          Office expense                                $13,882.00
          Pension and profit-sharing plans               $8,297.00
          Rent or lease:
          a) Vehicles, machinery, and
          equipment
          b) Other business property                   $231,058.00
          Repairs and maintenance                       $13,246.00
          Supplies
          Taxes and licenses                           $102,895.00
          Travel and meals:
          a) Travel                                      $3,738.00
          b) Deductible meals                            $3,191.00
          Utilities                                     $22,224.00
          Wages (less employment credits)              $891,118.00
          Other expenses                               $502,655.00
          Total Expenses                             $2,109,908.00
          Tentative profit or (loss).                 -$326,147.00


          The above information was taken from the Debtor's principal's 1040 - Schedule
          C Income Tax filing - Copies of the redacted return will be provided upon
          request to the U.S. Trustee's office and the Court.




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                                                                  3:50 PM                                       US Outdoor Holding, LLC
                                                                  11/20/20                                            Balance Sheet
                                                                  Accrual Basis                                      As of October 31, 2020

                                                                                                                                              Oct 31, 20
                                                                                  ASSETS
                                                                                    Current Assets
                                                                                      Checking/Savings
                                                                                         10000 · Checking Accounts
                                                                                            10038 · Key Bank - 3880                                229,008.67
                                                                                            10052 · Key Bank - 5204                                  4,781.60
                                                                                            10054 · Key Bank - 5477                                 24,689.11

                                                                                         Total 10000 · Checking Accounts                                    258,479.38




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                                                                                         10100 · Savings Accounts                                                 1.07

                                                                                         10500 · Clearing Accounts                                           29,245.15

                                                                                         10800 · Petty Cash                                                      53.23
                                                                                         10810 · Cash Drawer                                                    220.00
                                                                                         10880 · Change Fund                                                     60.00

                                                                                       Total Checking/Savings                                               288,058.83




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                                                                                       Other Current Assets
                                                                                         12000 · Undeposited Funds                                              626.00
                                                                                         12100 · Inventory Asset                                            666,317.87




     20-32571-dwh11 Doc
                                                                                         12300 · Prepaid Expenses
                                                                                           12314 · PrePaid Legal Fees                               25,000.00




                    Doc140
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                                                                                         Total 12300 · Prepaid Expenses                                      25,000.00

                                                                                         15100 · Security Deposits                                           50,000.00




                        90 Filed
                                                                                       Total Other Current Assets                                           741,943.87

                                                                                    Total Current Assets                                                   1,030,002.70

                                                                                    Fixed Assets
                                                                                       15000 · Furniture and Equipment                                          350.00




                            Filed12/03/20
                                  03/10/21
                                  01/27/21
                                                                                       15500 · Vehicle
                                                                                         15570 · Accumulated Depreciation                          -12,000.00
                                                                                         15500 · Vehicle - Other                                    22,500.00

                                                                                       Total 15500 · Vehicle                                                 10,500.00

                                                                                    Total Fixed Assets                                                       10,850.00

                                                                                    Other Assets
                                                                                      18000 · Goodwill                                                      661,424.92

                                                                                    Total Other Assets                                                      661,424.92


                                                                                                                                                                          Page 1
                                                                  3:50 PM                                          US Outdoor Holding, LLC
                                                                  11/20/20                                               Balance Sheet
                                                                  Accrual Basis                                         As of October 31, 2020

                                                                                                                                                   Oct 31, 20
                                                                                  TOTAL ASSETS                                                                  1,702,277.62

                                                                                  LIABILITIES & EQUITY
                                                                                     Liabilities
                                                                                        Current Liabilities
                                                                                           Accounts Payable
                                                                                               20000 · AP (Inventory)                                           1,038,620.34

                                                                                             20100 · AP (Operations)                                              95,930.71




Case
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                                                                                          Total Accounts Payable                                                1,134,551.05

                                                                                          Credit Cards
                                                                                            20590 · US Bnk CC-9137 Mstr Pymnts Only                               29,801.23

                                                                                             20600 · CC - Office Depot 5942                                          119.98
                                                                                             20601 · AMEX                                                         54,867.51

                                                                                             20660 · Capital One 5825                                             26,534.15
                                                                                             20675 · Chase 1023                                                   14,731.17




Case20-32571-dwh11
                                                                                          Total Credit Cards                                                     126,054.04

                                                                                          Other Current Liabilities




     20-32571-dwh11 Doc
                                                                                            20680 · National Funding Loans                                        31,058.10

                                                                                             20690 · SBA Loans




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                                                                                               20691 · SBA Loan 71-09                                   266,607.00
                                                                                               20692 · SBA EDIL Loan                                     10,000.00
                                                                                               26093 · EDIL Loan x1324                                  150,000.00




                        90 Filed
                                                                                             Total 20690 · SBA Loans                                             426,607.00

                                                                                             20700 · Gift Card Liabilities                                       131,242.73

                                                                                             20990 · Corporate Tax Liability                                       2,460.00
                                                                                             21010 · Payroll Liabilities




                            Filed12/03/20
                                  03/10/21
                                  01/27/21
                                                                                               21100 · Payroll Tax Liabilities
                                                                                                  21200 · Federal Payroll Liabilities            118,287.80

                                                                                                   21300 · State Payroll Liability                46,886.14

                                                                                                Total 21100 · Payroll Tax Liabilities                   165,173.94

                                                                                                21705 · Other Payroll Liabilities                         5,077.56

                                                                                             Total 21010 · Payroll Liabilities                                   170,251.50

                                                                                          Total Other Current Liabilities                                        761,619.33

                                                                                       Total Current Liabilities                                                2,022,224.42

                                                                                                                                                                               Page 2
                                                                  3:50 PM                                      US Outdoor Holding, LLC
                                                                  11/20/20                                            Balance Sheet
                                                                  Accrual Basis                                      As of October 31, 2020

                                                                                                                                                Oct 31, 20
                                                                                       Long Term Liabilities
                                                                                         28000 · Notes Payable Carrie Ariniello                                 36,318.01
                                                                                         29000 · Notes Payable Solomon                                       1,250,000.00
                                                                                         29100 · Notes Payable PUNVER                                          150,000.00
                                                                                         29200 · Notes Payable AUNVER                                           50,000.00

                                                                                       Total Long Term Liabilities                                           1,486,318.01

                                                                                    Total Liabilities                                                        3,508,542.43




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                                                                                    Equity
                                                                                      31000 · Owners Equity
                                                                                         31001 · Note Equity - Prior Period                          101,567.75
                                                                                         31600 · Owners Equity - Ed Ariniello
                                                                                           31601 · CC - EA Personal 4957                          176.25
                                                                                           31602 · CC - EA Personal 7388                          231.03
                                                                                           31600 · Owners Equity - Ed Ariniello - Other       637,519.82

                                                                                          Total 31600 · Owners Equity - Ed Ariniello                 637,927.10




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                                                                                          31700 · Owners Equity - A Unverzagt                        168,000.00
                                                                                          31701 · Owners Equity - A Pollard                          150,000.00

                                                                                       Total 31000 · Owners Equity                                           1,057,494.85




     20-32571-dwh11 Doc
                                                                                       32000 · Retained Earnings                                           -2,245,002.57
                                                                                       Net Income                                                            -618,757.09




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                                                                                    Total Equity                                                           -1,806,264.81

                                                                                  TOTAL LIABILITIES & EQUITY                                                 1,702,277.62




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                                  01/27/21
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                                                                  3:53 PM                                      US Outdoor Holding, LLC
                                                                  11/20/20                                             Profit & Loss
                                                                  Accrual Basis                                            October 2020

                                                                                                                                                  Oct 20
                                                                                  Ordinary Income/Expense
                                                                                       Income
                                                                                          46000 · Merchandise Sales
                                                                                             46100 · In-Store Sales                                  67,093.30
                                                                                             46200 · eCommerce Sales
                                                                                               46201 · Paypal                                   8,603.26
                                                                                               46200 · eCommerce Sales - Other                 11,228.62

                                                                                            Total 46200 · eCommerce Sales                            19,831.88




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                                                                                            46000 · Merchandise Sales - Other                                0.00

                                                                                         Total 46000 · Merchandise Sales                                      86,925.18

                                                                                         48300 · Vendor Discounts Given                                               0.00

                                                                                       Total Income                                                           86,925.18

                                                                                       Cost of Goods Sold
                                                                                         50000 · Cost of Goods Sold (Inventory)                               55,614.82




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                                                                                         50090 · Inventory - Freight -In                                            868.44

                                                                                         50100 · Cost of Sales




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                                                                                           50540 · Merchant Account Fees                              2,747.28
                                                                                           50560 · Postage-Freight Out                                3,199.40
                                                                                           50585 · Repair Shop Expenses                               1,493.95




                    Doc140
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                                                                                         Total 50100 · Cost of Sales                                           7,440.63

                                                                                       Total COGS                                                             63,923.89




                        90 Filed
                                                                                    Gross Profit                                                              23,001.29

                                                                                       Expense
                                                                                         General & Administrative
                                                                                           60201 · Automobile Expense                                       65.30




                            Filed12/03/20
                                  03/10/21
                                  01/27/21
                                                                                            60400 · Bank Service Charges                                   102.83

                                                                                            61700 · Computer and Internet Expenses
                                                                                              61750 · eComm | Online Services                   3,342.54
                                                                                              61700 · Computer and Internet Expenses - Other      456.88

                                                                                            Total 61700 · Computer and Internet Expenses              3,799.42

                                                                                            63300 · Liability Insurance                               2,912.04
                                                                                            64900 · Office Supplies
                                                                                              64940 · Store Supplies                              99.75
                                                                                              64900 · Office Supplies - Other                    613.97


                                                                                                                                                                             Page 1
                                                                  3:53 PM                                       US Outdoor Holding, LLC
                                                                  11/20/20                                            Profit & Loss
                                                                  Accrual Basis                                             October 2020

                                                                                                                                             Oct 20
                                                                                            Total 64900 · Office Supplies                             713.72

                                                                                            64950 · Software Subscription Expense                     965.44
                                                                                            66700 · Professional Fees
                                                                                              66720 · Accounting / Bookkeping              3,345.00
                                                                                              66740 · Design Fees                          2,850.00

                                                                                            Total 66700 · Professional Fees                      6,195.00

                                                                                            66850 · Postage - G/A                                      50.61




Case
                                             Exhibit A - Page 36 of 38
                                                                                            68900 · Licenses and Fees                                 125.00

                                                                                         Total General & Administrative                                  14,929.36

                                                                                         Occupancy
                                                                                           66300 · Business Tax                                  2,421.72
                                                                                           67100 · Rent Expense                                  9,000.00
                                                                                           67200 · Repairs and Maintenance                         633.18
                                                                                           68600 · Utilities
                                                                                             68601 · Telephone Expense                      412.24




Case20-32571-dwh11
                                                                                            Total 68600 · Utilities                                   412.24

                                                                                         Total Occupancy                                                 12,467.14




     20-32571-dwh11 Doc
                                                                                         Sales & Marketing
                                                                                           60180 · Advertising and Promotion                       264.99




                    Doc140
                        131
                                                                                           60187 · Marketing/Public Relation                     7,100.10

                                                                                         Total Sales & Marketing                                          7,365.09




                        90 Filed
                                                                                         60000 · Payroll Expenses
                                                                                           60010 · Labor                                        33,894.39

                                                                                            60050 · Federal Payroll Taxes                        2,474.28
                                                                                            60060 · State Payroll Taxes                            828.14
                                                                                            63400 · Worker's Compensation                         -589.39




                            Filed12/03/20
                                  03/10/21
                                  01/27/21
                                                                                            66400 · Pension Plan                                   489.00
                                                                                            66500 · Medical/ Dental Insurance                    4,762.89
                                                                                            66550 · Other Employee Benefits                        700.00
                                                                                            66800 · Recruiting Expenses                             45.00
                                                                                            60000 · Payroll Expenses - Other                        17.85

                                                                                         Total 60000 · Payroll Expenses                                  42,622.16

                                                                                       Total Expense                                                     77,383.75

                                                                                  Net Ordinary Income                                                   -54,382.46

                                                                                  Other Income/Expense
                                                                                    Other Expense

                                                                                                                                                                     Page 2
                                                                  3:53 PM                                      US Outdoor Holding, LLC
                                                                  11/20/20                                           Profit & Loss
                                                                  Accrual Basis                                       October 2020

                                                                                                                                         Oct 20
                                                                                         80000 · Ask My Accountant                                  -149.66

                                                                                      Total Other Expense                                           -149.66

                                                                                    Net Other Income                                                 149.66

                                                                                  Net Income                                                      -54,232.80




Case
                                             Exhibit A - Page 37 of 38
Case20-32571-dwh11
     20-32571-dwh11 Doc
                    Doc140
                        131
                        90 Filed
                            Filed12/03/20
                                  03/10/21
                                  01/27/21
                                                                                                                                                               Page 3
                       IN THE UNITED STATES BANKRUPTCY COURT

                              FOR THE DISTRICT OF OREGON

 In re                                           Case No. 20-32571-dwh11

 U.S. Outdoor Holding, LLC                       BALLOT FOR ACCEPTING OR
                                                 REJECTING DEBTOR'S PLAN
           Debtor-in-Possession.

          Filed By:                                               on:
                       (Company or Creditor's Name)                        (Date)

                Number of your Class in the Plan:                              .

              The Plan referred to in this ballot can be confirmed by the court and thereby
made binding on you if it is accepted by the holders of two-thirds in total dollar amount and
more than one-half in number of Claims in each class and the holders of two-thirds in
amount of equity security interests in each class voting on the Plan. In the event the
requisite acceptances are not obtained, the Court may nevertheless confirm the Plan if the
Court finds that the Plan accords fair and equitable treatment to the class rejecting it. To
have your vote count, you must complete and return this ballot.

                       The undersigned: (check one box)

                       □Accepts               □Rejects
the Debtor’s Plan of Reorganization of the above-named Debtor.

Signed:                              Title:                   Phone No.

Street:                            City:                 State:         Zip:

       Return this ballot on or before the date specified in the court order accompanying this
Plan to:

                                    DOUGLAS R. RICKS
                                       ATTN: COLIN
                                          BALLOTS
                               The Spalding Building, Suite 520
                                 319 S.W. Washington Street
                                Portland, Oregon 97204-2620
                                   Phone: (503) 241-4869
                                     Fax: (503) 241-3731

     NOTICE: "THIS FORM DOES NOT CONSTITUTE A PROOF OF CLAIM AND MAY
NOT BE USED TO FILE A CLAIM OR TO INCREASE ANY AMOUNT LISTED IN THE
DEBTOR SCHEDULES."


Exhibit A6 -–Page
Exhibit       Page38
                   1 of
                     of 1
                        38
                      Case
                      Case20-32571-dwh11
                           20-32571-dwh11 Doc
                                          Doc140
                                              131
                                              90 Filed
                                                  Filed12/03/20
                                                        01/27/21
                                                        03/10/21
    US Outdoor Holding, LLC - Case No. 20-32571-dwh11


                            Beginning Cash                                                     *      400,000    610,350     439,813    390,269


                                                                        CLAIM
                                                                       AMOUNT
                                                                                    INTEREST       Initial Plan
                CLASS                  CREDITOR NAME                                  RATE          Payments Due 1/31/22 Due 1/31/23 Due 1/31/24
                Admin       Vanden Bos & Chapman                          50,000       0%                50,000    5,000       5,000           0
                Admin       CFO Selections, LLC                            5,000       0%                  6,000   7,500       5,000           0
                Admin       Willamette Valley Accounting                   4,000       0%                  4,000   4,000       4,000           0
                Admin       Solomon Trust                                 30,000       0%                75,000        0           0           0
                Admin       Subchapter V Trustee                          10,000       0%                10,000        0           0           0
                                                           Subtotal:                                    145,000  16,500      14,000            0

                Class 1     US Small Business Admin                       150,154     3.75%             5,117      8,772       8,772       8,772
                Class 2     Tecnica Group USA Corp                         50,298     4.25%             4,500     49,973           0           0
                Class 3     The Burton Corporation                         64,302     4.25%             8,200     61,335
                Class 4     National Funding Inc                           74,567     4.25%             9,500     71,136
                Class 5     IRS                                            92,734     3.00%             6,000     92,202
                Class 6     Multnomah County                                1,610    16.00%             1,610          0           0           0
                Class 7     Solomon Trust (see Class 9)                   193,129     0.00%                 0          0           0           0
                Class 8     Solomon Management (see Class 9)            1,269,785     0.00%                 0          0           0           0
                                                        Subtotal:                                      34,927    283,418       8,772       8,772

                Priority    IRS                                           59,642     3.00%              6,000      57,094          0          0
                Priority    ODR                                           24,260     6.00%              3,000      24,079
                Priority    DCBS                                           1,127     6.00%              1,127           0          0          0
                Priority    Employment Dept                               18,169     6.00%              2,500      17,765
                                                           Subtotal:                                   12,627      98,938          0          0

                Class 9     General Unsecured Creditors                 3,600,085     0%                    0      50,000    323,795    323,795
                                                           Subtotal:                                        0      50,000    323,795    323,795

                            Total Plan Payments:                                                      192,554    448,856     346,567    332,567
                            Net Cash Carry:                                                           207,446    161,494      93,246     57,702




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                                       Case 20-32571-dwh11                Doc 140
                                                                              131        Filed 03/10/21
                                                                                               01/27/21
            US Outdoor Holding, LLC                                        % Inc.     Jan 21         Feb 21         Mar 21         Apr 21         May 21        Jun 21         Jul 21         Aug 21        Sep 21        Oct 21         Nov 21        Dec 21        2021

            Income Statement Projections
                        Beginning Cash Balance                                       207,446.00     212,442.99     353,926.02     346,394.43     323,563.99    313,667.95     304,892.32     292,792.21    288,047.52    301,474.41     361,168.91    448,266.30
                        Post-Petition Financing                                                     250,000.00                                                                                                                                                        250,000
                        Revenue
                            46100 · In-Store Sales                                     175,606        131,450        135,750         87,540        105,000       112,000        119,098        121,500       160,020       272,550        338,100       473,340      2,231,954
                            46200 · eCommerce Sales
                                  46201 · Paypal                                        13,800         12,650         10,000         10,000         10,000        10,000         10,000         10,000        10,000        10,000         11,500        11,500       129,450
                                  46202 · Amazon                                         9,100          8,450          7,800          7,800          7,800         7,800          8,580          9,360         9,750        10,140         12,480        13,650       112,710
                                  46200 · eCommerce Sales - Other                       30,000         30,000         22,500         25,000         27,500        30,000         32,500         30,000        36,000        52,500         81,000        94,500       491,500
                            46000 · Merchandise Sales - Other                            1,500          1,500          1,500                 0             0       1,500          2,000          3,000         1,500                0             0              0     12,500
                            48300 · Vendor Discounts Given                                      0              0              0                            0              0              0             0             0              0             0              0            0
                            48500 · Refunds and Returns                                   -550           -550           -550           -550           -550          -478           -511           -494          -558          -726          -1,050        -1,197        -7,763
                            49000 · Sponsorship and Commissions                                 0              0              0              0             0              0              0             0             0              0             0              0            0
                        Total Revenue                                                  229,456        183,500        177,000        129,790        149,750       160,822        171,667        173,366       216,713       344,464        442,030       591,794      3,220,352
                        Cost of Goods Sold
                            50000 · Cost of Goods Sold (Inventory)             50%     114,142        191,282         88,048         64,564         74,493        80,000         85,395         86,241       107,803       171,352        219,887       294,386      1,577,592
                            50090 · Inventory - Freight -In                     0%         125            125            125            125            125           125            125            125           125           125            125           125         1,500
                            50100 · Cost of Sales
                                  59700 · eComm | Online Services              10%       5,290          5,110          4,030          4,280          4,530         4,780          5,108          4,936         5,575         7,264         10,498        11,965        73,366
                                  59800 · Merchant Account Fees                 3%       7,572          6,056          5,841          4,283          4,942         5,307          5,665          5,721         7,152        11,367         14,587        19,529        98,022
                            Total 50100 · Cost of Sales                        10%      12,862         11,166          9,871          8,563          9,472        10,087         10,773         10,657        12,727        18,631         25,085        31,494       171,388




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                            55020 · Rental Fleet                                0%              0              0                                        48         3,000          7,500             56            70           111          4,500         4,500        19,785
                            65040 · Repair Shop Expenses                        0%         300                0                                         23               25         300             27            34           350            350           350         1,759
                            68200 · Postage/ Shipping                           5%       2,645          2,555          2,015          2,140          2,265         2,390          2,554          2,468         2,788         3,632          5,249         5,983        36,683
                        Total COGS                                             70%     130,074        205,127        100,059         75,392         86,426        95,628        106,647         99,574       123,546       194,202        255,196       336,837      1,808,707




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            Gross Profit                                                                99,382         -21,627        76,941         54,398         63,324        65,194         65,020         73,793        93,167       150,262        186,835       254,956      1,411,645
                        Gross Margin %                                                    43%           -12%            43%            42%            42%           41%            38%            43%           43%           44%            42%           43%           44%
                        Product Margin %                                                  50%             -4%           50%            50%            50%           50%            50%            50%           50%           50%            50%           50%           51%


                        Expense
                            General & Administrative
                                  60211 · Fuel                                             125            125            125            125            125           125            125            125           125           125            125           125         1,500
                                  60201 · Automobile Expense - Other                       250            250            250            250            250           250            250            250           250           250            250           250         3,000




Filed 03/10/21
      01/27/21
                                  60300 · Parking and Tolls                                750                0              0              0              0             0              0              0             0             0              0             0           750
                                  60400 · Bank Service Charges - Other                         40             40             40             40          40               40             40          40            40               40          40               40          480
                                  61700 · Computer and Internet Expenses                 1,100          1,100          1,100          1,100          1,100         1,100          1,100          1,100         1,100         1,100          1,100         1,100        13,200
                                  63300 · Liability Insurance                            1,550          1,550          1,550          1,550          1,550         1,550          1,550          1,550         1,550         1,550          1,550         1,550        18,600
                                  64300 · Meals and Entertainment 50%                      150            150            150            150            150           150            150            150           150           150            150           150         1,800
                                  64310 · Meals and Entertainments 100%                    225            225            225            225            225           225            225            225           225           225            225           225         2,700
                                  64400 · Travel                                           200            200            200            200            200           200            200            200           200           200            200           200         2,400
                                  64900 · Office Supplies                                2,000            925            925            925            925           925            925            925           925           925            925           925        12,175
                                  64950 · Software Subscription Expense                    700            700            700            700            700           700            700            700           700           700            700           700         8,400
                                  66700 · Professional Fees                              2,500          2,500          2,500          2,500          2,500         2,500          2,500          2,500         2,500         2,500          2,500         2,500        30,000
                                  66900 · Reconciliation Discrepancies                         0              0              0              0              0             0              0              0             0             0              0             0            0

                      Exhibit B Page 2 of 4
            US Outdoor Holding, LLC                                    % Inc.   Jan 21        Feb 21        Mar 21        Apr 21       May 21       Jun 21        Jul 21        Aug 21       Sep 21       Oct 21        Nov 21       Dec 21        2021

                                68900 · Licenses and Fees                            450           450           450           450         450           450           450          450          450           450          450           450         5,400
                            Total General & Administrative                        10,040         8,215         8,215         8,215        8,215        8,215         8,215         8,215        8,215        8,215         8,215        8,215       100,405
                            Occupancy                                                                                              0            0            0             0             0            0            0             0            0            0
                                61100 · Display & Decor Expense                      250           250           250           250         250           250           250          250          250           250          250           250         3,000
                                63600 · Janitorial Expense                           150           150           150           150         150           150           150          150          150           150          150           150         1,800
                                64800 · Furniture & Fixtures < $2500                 100           100           100           100         100           100           100          100          100           100          100           100         1,200
                                66300 · Business Tax                               3,000         3,000         3,000         2,500        2,500        2,500         2,500         2,500        2,500        3,000         3,000        3,000        33,000
                                67100 · Rent Expense                               9,000         9,000         9,000         9,000        9,000        9,000         9,000         9,000        9,000        9,000         9,000        9,000       108,000
                                67200 · Repairs and Maintenance                      500           500           500           200         200           200           200          200          200           200          900           900         4,700
                                67250 · Small Equipment                                  0             0             0             0            0            0             0             0            0            0             0            0            0
                                68601 · Telephone Expense                            750           750           750           750         750           750           750          750          750           750          750           750         9,000
                                68600 · Utilities - Other                          1,000         1,000         1,000         1,000        1,000        1,000         1,000         1,000        1,000        1,000         1,000        1,000        12,000
                            Total Occupancy                                       14,750        14,750        14,750        13,950       13,950       13,950        13,950        13,950       13,950       14,450        15,150       15,150       172,700
                            Sales & Marketing                                                                                      0            0            0             0             0            0            0             0            0            0
                                60180 · Advertising and Promotion                  8,000         8,000         7,000         7,000        7,000        7,000         7,000         7,000        7,000       10,000        10,000       10,000        88,000
                                60184 · Dues and Memberships                         100           100           100           100         100           100           100          100          100           100          100           100         1,200
                                60187 · Marketing/Public Relation                    200           200           200           500         500           500           500          500          500         1,500         1,500        1,500         8,100
                                60188 · Events & Classes                                 0             0             0             0            0            0             0             0            0        500          500           500         1,500
                                60189 · Trade Show Expenses                                                                        0            0        750           750          750          750           750          750           750         5,250
                                64500 · Gifts < $25                                      0             0             0             0            0            0             0             0            0            0             0            0            0
                                64600 · Gifts > $25                                       0             0             0            0            0            0             0             0            0            0             0             0            0




Case 20-32571-dwh11
                                68300 · Printing/Reproduction                        300           300           300           300         300           300           300          300          300           300          300           300         3,600
                                69600 · Consignment Sales Expense                         0             0             0            0            0            0             0             0            0            0             0             0            0
                            Total Sales & Marketing                                8,600         8,600         7,600         7,900        7,900        8,650         8,650         8,650        8,650       13,150        13,150       13,150       107,650
                            60000 · Payroll Expenses
                                60031 · Hourly Labor                              34,440        29,400        28,140        22,190       18,760       18,760        21,560        22,820       23,800       28,980        36,288       36,540       321,678




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                                60032 · Salary Labor                              16,000        16,000        16,000        16,000       16,000       16,000        16,000        16,000       16,000       16,000        16,000       16,000       192,000
                                60050 · Federal Payroll Taxes                      4,287         3,859         3,752         3,246        2,955        2,955         3,193         3,300        3,383        3,823         4,444        4,466        43,663
                                60060 · State Payroll Taxes                        2,018         1,816         1,766         1,528        1,390        1,390         1,502         1,553        1,592        1,799         2,092        2,102        20,547
                                63400 · Worker's Compensation                        200           200           200           200          50               50            50        50           50               50       200           200         1,500
                                66400 · Pension Plan                                 300           300           300           300         300           300           300          300          300           300          300           300         3,600
                                66500 · Medical/ Dental Insurance                  3,500         3,500         3,500         3,500        3,500        3,500         3,500         3,500        3,500        3,500         3,500        3,500        42,000
                                66550 · Other Employee Benefits                      100           100           100           100         100           100           100          100          100           100          100           100         1,200
                                66800 · Recruiting Expenses                              50            50            50            0            0            0             0             0       100           100          150               50          550




Filed 03/10/21
      01/27/21
                                68500 · Uniforms                                         0             0             0             0            0            0             0             0            0            0         48               0           48
                                60000 · Payroll Expenses - Other                     100           100           100           100         100           100           100          100          100           100          100           100         1,200
                            Total 60000 · Payroll Expenses                        60,995        55,325        53,908        47,164       43,155       43,155        46,305        47,723       48,925       54,753        63,222       63,358       627,986


                        Total Expense                                             94,385        86,890        84,473        77,229       73,220       73,970        77,120        78,538       79,740       90,568        99,737       99,873      1,008,741


                        Net Income                                                 4,997      -108,517        -7,532       -22,830       -9,896       -8,776       -12,100        -4,745       13,427       59,695        87,097      155,084       402,904




                      Exhibit B Page 3 of 4
                        US Outdoor Holding, LLC              Forecast      Forecast      Forecast
                        Income Statement & Projections        2021          2022          2023

                                In-Store Sales                 2,231,954     2,410,511     2,506,931
                                eCommerce Sales                  733,660       792,353       824,047
                                Merchandise Sales - Other         12,500        13,500        14,040
                        Total Revenue                          3,220,352     3,207,980     3,336,299
                        Total COGS                             1,808,707     1,901,553     1,977,615
                 Gross Profit                                  1,411,645     1,306,427     1,358,685
                        Gross Margin %                            43.8%         40.7%         40.7%
                            Total General & Administrative       100,405       103,417       106,520
                            Total Occupancy                      172,700       179,608       186,792
                            Total Sales & Marketing              107,650       110,880       114,206
                            Total Payroll Expenses               627,986       634,204       654,143
                        Total Expense                          1,008,741     1,028,109     1,061,661


                 Net Income                                      402,904       278,319       297,023


                 Beginning Cash:                                 400,000       207,446       161,494




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                                Case 20-32571-dwh11            Doc 140
                                                                   131     Filed 03/10/21
                                                                                 01/27/21
Label Matrix for local noticing          Aaric Unverzagt                                Aaron Unverzagt
0979-3                                   16530 SW 147th                                 3644 SW 48th Pl
Case 20-32571-dwh11                      Portland, OR 97224-1353                        Portland, OR 97221-2102
District of Oregon
Portland
Wed Mar 10 09:38:18 PST 2021
(p)AIRBLASTER LLC                        Albers, Scott                                  Amer Sports
PO BOX 430                               4437 NE Skidmore St.                           PO Box 3141
BEND OR 97709-0430                       Portland, OR 97218-1756                        Carol Stream, IL 60132-3141



Amer Sports Winter & Outdoor             American Express                               American Express National Bank
2030 Lincoln Ave                         P.O. Box 650448                                c/o Becket and Lee LLP
Ogden, UT 84401-0430                     Dallas, TX 75265-0448                          PO Box 3001
                                                                                        Malvern PA 19355-0701


Arcteryx Equipment                       Ariniello, Edward A                            Beckham, Helena
PO Box 7247-6560                         29455 SW Heater Rd                             18081 SW Pacific Hwy
Philadelphia, PA 19170-6560              Sherwood, OR 97140-5004                        Tualatin, OR 97062-6969



Bitle, Jaime M.                          Black Crows Corp                               Boardriders Wholesale, LLC
1003 SE River Forest Rd.                 Pramex International                           c/o CRF Solutions
Milwaukee, OR 97267-3512                 1251 avenue of the americas                    PO Box 1389
                                         New York, NY 10020-1104                        Simi Valley, CA 93062-1389


Bonfire                                  Bula Sports USA, INC                           Bureau of Environmental Svcs
Pretty Great                             5800 Sports USA, INC                           Portland Water Bureau
106 W 4th Street Suite 500               Montreal, QC, Canada H4P 1M7                   PO Box 4216
Santa Anna, CA 92701-4609                CANADA                                         Portland, OR 97208-4216


Burton Snowboards                        C3 Worldwide, LLC                              CFO Selections LLC
PO Box 11626                             Attn: Ben Kramer                               310 120th Avenue NE #101
Tacoma, WA 98411-6626                    4917 14th Ave NW                               Bellevue, WA 98005-3013
                                         Seattle, WA 98107-5142


CFO Selections, LLC                      CHRISTOPHER N COYLE                            Capital One - Spark Card
Attn: Karissa Aleskus                    319 SW Washington St #520                      PO Box 60599
310 -120th Ave NE                        Portland, OR 97204-2690                        City of Industry, CA 91716-0599
Ste 101
Bellevue, WA 98005-3013

Capital One Bank (USA), N.A.             Carrie Lattimer-Ariniello                      (p)JPMORGAN CHASE BANK N A
4515 N Santa Fe Ave                      29455 SW Heater Rd.                            BANKRUPTCY MAIL INTAKE TEAM
Oklahoma City, OK 73118-7901             Sherwood, OR 97140-5004                        700 KANSAS LANE FLOOR 01
                                                                                        MONROE LA 71203-4774


(p)CITY OF PORTLAND                      City of Portland, Portland Water Bureau        Clockwork Brand Management
OFFICE OF CITY ATTORNEY                  Portland Water Bureau                          201-1201 Commercial Way
RM 430                                   1120 SW 5th Avenue, Room 405                   Squamish, BC V8B0V1
1221 SW 4TH AVE                          Portland, OR 97204-1926                        CANADA
PORTLAND OR 97204-1991
                                  Case 20-32571-dwh11             Doc 140    Filed 03/10/21
Conductor                                       Conductor LLC                                  Conductor LLC
c/o WeWork HQ                                   2 Park Ave Ste 1501                            c/o Marc Sabow, Esq.
1619 Broadway 11th Floor                        New York, NY 10016-5707                        Hochheiser & Akmal PLLC
New York, NY 10019-7961                                                                        910 Franklin Ave #220
                                                                                               Garden City, NY 11530-2940

Corporation Service Company                     Covey, Adam                                    Criteo Corp
as Representative for National Funding          6403 NE Glisan St. Apt. 11                     PO Box 22764
PO Box 2576                                     Portland, OR 97213-5071                        Pasadena, CA 91185-2764
Springfield, IL 62708-2576


Crossroads Financing, LLC                       Crossroads Financing, LLC                      DC Shoes
6001 Broken Sound Pkwy, Ste 620                 c/o Lee Haskins, CEO                           PO Box 749337
Boca Raton, FL 33487-2766                       6001 Broken Sound Pkwy, Ste 620                Los Angeles, CA 90074-9337
                                                Boca Raton, FL 33487-2766


Dakine Inc.                                     Department of Consumer and Business Services   Earth2O
PO Box 743477                                   350 Wonter St NE                               PO Box 70
Lost Angeles, CA 90074-3477                     Salem, OR 97301-3875                           Culver, OR 97734-0070



Edward A. Ariniello                             Kenneth S Eiler                                Goode
29455 SW Heater Rd.                             515 NW Saltzman Rd - PMB 810                   Carbon Innovation
Sherwood, OR 97140-5004                         Portland, OR 97229-6098                        2450 Wall Avenue
                                                                                               Ogden, UT 84401-1332


Gordini                                         Group Rossignol USA, Inc.                      NICHOLAS J HENDERSON
PO Box 8440                                     dba The Rossignol Group                        Motschenbacher & Blattner, LLP
Essex Junction, VT 05451-8440                   75 Remittance Drive, Suite 3080                117 SW Taylor Street
                                                Chicago, IL 60695-0001                         Ste 300
                                                                                               Portland, OR 97204-3029

(p)HESTRA GLOVES LLC                            Hilliard, Marshall                             Huser Integrated Technologies
12425 W 54TH DRIVE                              6454 SE 77th Ave                               1313 NW 17th Ave
ARVADA CO 80002-1920                            Portland, OR 97206-6300                        1313 NW 17th Ave.
                                                                                               Portland, OR 97209-2412


Huser Intergrated Technologies                  (p)INTERNAL REVENUE SERVICE                    IRS
1313 NW 17th Ave                                CENTRALIZED INSOLVENCY OPERATIONS              Attn: Civil Process Clerk
Portland, OR 97209-2412                         PO BOX 7346                                    U.S. Attorney, District of Oregon
                                                PHILADELPHIA PA 19101-7346                     1000 SW 3rd, #600
                                                                                               Portland, OR 97204-2936

IRS                                             Icebreaker Nature Clothing Co                  JPMorgan Chase Bank, N.A.
Centralized Insolvency Operation                c/o Biehl & Biehl, Inc.                        s/b/m/t Chase Bank USA, N.A.
P. O. Box 7346                                  PO Box 87410                                   c/o National Bankruptcy Services, LLC
Philadelphia, PA 19101-7346                     Carol Stream, IL 60188-7410                    P.O. Box 9013
                                                                                               Addison, Texas 75001-9013

Jupa Sports                                     K2 Sports                                      K2 Sports, LLC
9404, boulevard du Golf                         PO Box 913174                                  413 Pine Street, 3rd Fl
Anjou(Quebec), Canada H1J3A1                    Denver, CO 80291-3185                          Seattle, WA 98101-3670
CANADA

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K2 Sports, LLC                         KPTV Digital                                      KPTV Television
Attn: Brian Johnson                    14975 NW Greenbrier Pkwy                          c/o Szabo Associates, Inc
413 Pine St 3rd Floor                  Beaverton, OR 97006-5731                          3355 Lenox Road NE, Suite 945
Seattle, WA 98101-3670                                                                   Atlanta, GA 30326-1357


Kenneth S. Eiler                       KeyBank National Association                      Kulkea
PMB 810                                1675 Broadway                                     PO Box 335
515 NW Saltzman Rd.                    4th Floor                                         Westwood, MA 02090-0335
Portland, OR 97229-6098                Denver, CO 80202-4675


GARRETT SHEA LEDGERWOOD                Law Offices of Brian J. Ferber, Inc.              Leal, Erin E
Miller Nash Graham & Dunn LLP          for C3 Worldwide - Client Ref 100086              5315 SW Idaho St.
111 S.W. Fifth Avenue                  5611 Fallbrook Ave                                Portland, OR 97221-1618
3400 U.S. Bancorp Tower                Woodland Hills, CA 91367-4243
Portland, OR 97204-3614

Leng, Taylor                           Liberty Skis Corporation                          Loser Machine, LLC
4410 NE 10th Ave                       PO Box 4555                                       17462 Von Karman Ave
Portland, OR 97211-4566                Avon, CO 81620-4555                               Irvine, CA 92614-6206



Loughrin, Owen D                       Luxottica of America                              Luxottica of America Inc.
7909 SW 31st Ave                       PO Box 50987                                      c/o Katie Miltner, Legal
Portland, OR 97219-3780                Los Angeles, CA 90074-0987                        4000 Luxottica Place
                                                                                         Mason, OH 45040-8114


MEDIAmerica, Inc.                      Mammut Sports Group                               Marchon Eyewear, Inc.
715 SW Morrison St., #800              458 Hurricane Ln Ste 411                          88216 Expedite Way
Portland, OR 97205-3131                Williston, VT 05495-2073                          Chicago, IL 60695-0001



Marker Volkl US, Inc.                  Marker Volkl USA, INC                             Marketplace I & II, LLC
PO Box 913185                          413 Pine St, 3rd Floor                            c/o PREM Group, Inc.
Denver, CO 80291-3185                  Seattle, WA 98101-3668                            139 SE Taylor St
                                                                                         Portland, OR 97214-2118


Marmot Mountain, LLC                   Martinez-Vidal, Alexander                         Mervin Solomon Estate
PO Box 915170                          4424 SW Plum Street Apt. 204                      Attn: Robert Solomon
Dallas, TX 75391-5170                  Portland, OR 97219-5282                           9 Mountain View Lan
                                                                                         Lake Oswego, OR 97035-1220


Motion Sports LLC                      Multnomah County - DART                           Multnomah County-DART
7926 Bracken Place                     Assessment, Recording & Taxation                  PO BOX 2716
Snoqualmie, WA 98065-9271              PO Box 2716                                       PORTLAND, OR 97208-2716
                                       Portland, OR 97208-2716


National Funding                       Nidecker US                                       Nikita
9820 Towne Centre Drive                Attn: Tyler Nation                                Pretty Great
San Diego, CA 92121-1912               10153 W. River Street                             106 W 4th Street Suite 500
                                       Truckee, CA 96161-2392                            Santa Anna, CA 92701-4609

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Nils                                        Nitro Snowboards & L1 Outerwear                Nordica USA
3151 Airway Ave, Bldg V                     PO Box 651029                                  PO Box 849802
Costa Mesa, CA 92626-4627                   Salt Lake city, UT 84165-1029                  Dallas, TX 75284-9802



O’neill Wetsuits LLC                        ODR                                            ODR
PO Box 6300                                 ATTN: Bankruptcy Unit                          c/o Ellen Rosenblum, Attorney General
Santa Cruz, CA 95063-6300                   955 Center St NE                               Oregon Department of Justice
                                            Salem, OR 97301-2555                           1162 Court St, NE
                                                                                           Salem, OR 97301-4096

ODR Bkcy                                    Obermeyer                                      Oregon Employment Department
955 Center St NE                            115 AABC                                       875 Union Street NE
Salem, OR 97301-2555                        Aspen, CO 81611-2502                           Salem, OR 97311-0800



POC USA                                     Phillip A & Priscilla S. Unverzagt Trust       Quiksilver Wholesale LLC
PO Box 433                                  4810 NW Neskowin Ave                           PO Box 749340
Oceanside, NY                               Portland, OR 97229-2812                        Los Angeles, CA 90074-9340
11572
Oceanside, NY 11572-0433

DOUGLAS R RICKS                             Reef - VF Outdoor LLC                          Rhythm Swin
319 SW Washington St #520                   13911 Collection Center Dr                     Pacific Fair Shopping Centre-L1-R10
Portland, OR 97204-2620                     Chicago, IL 60693-0139                         Broadbeach, QLD +218
                                                                                           AUSTRALIA


Robert D. Solomon                           Rosenthal & Rosenthal, INC                     Roslow, Maxwell
c/o Miller Nash Graham Dunn                 c/o Lida Business Solutions                    122 SE 26th Ave
Attn: GSL                                   PO Box 433                                     Portland, OR 97214-1711
111 SW 5th Ave #3400                        Oceanside, NY 11572-0433
Portland, OR 97204-3614

SAIF                                        SCARPA North America, Inc                      Si Products - Sunince
Dept. of Consumer and Business Svc          3550 Frontier Ave., Unit E                     1675 Trans-Canada Highway Ste 200
350 Winter St, NE Rm 300                    Boulder, CO 80301-2430                         Montreal, QC, Canada H9P 1J1
Salem, OR 97301-3880                                                                       CANADA,


Sinz, Amber J                               Smartwool                                      Smith Sport Optics
6525 N Boston Ave                           c/o Biehl & Biehl, Inc.                        PO Box 4300 Mail Stop 79
Portland, OR 97217-5314                     PO Box 87410                                   Portland, OR 97208-4300
                                            Carol Stream, IL 60188-7410


Sole Technology                             Sole Technology Headquarters                   Solomon Management, Inc.
PO Box 511293                               26921 Fuerte Dr                                c/o Douglas Grim
Los Angeles, CA 90051-7848                  Lake Forest, CA 92630-8149                     Brownstein Rask, LLP
                                                                                           1 SW Columbia St Ste 900
                                                                                           Portland, OR 97258

Solomon Management, Inc.                    Spark R&D                                      Sport Obermeyer, Ltd
c/o Robert Solomon, President               PO Box 3284                                    Brett Anderson
9 Mountain View Lane                        Bozeman, MT 59772-3284                         115 AABC
Lake Oswego, OR 97035-1220                                                                 Aspen, CO 81611-2502

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Stanley Convergent Security Solutions          Strafe Outerwear                              Technica Group USA Corp
8350 Sunlight Drive, Ste 200                   115 Boomerang Rd 5201D                        19 Technology Dr.
Fishers, IN 46037-6700                         Aspen, CO 81611-4312                          West Lebanon, NH 03784-1673



Technica Group USA Corp                        Tecnica                                       Tecnica Group USA Corp
c/o Karen Maxham                               PO Box 849802                                 19 Technology Dr.
19 Technology Dr.                              Dallas, TX 75284-9802                         West Lebanon, NH 03784-1673
West Lebanon, NH 03784-1673


(c)THE BURTON CORPORATION                      The Burton Corporation                        The Burton Corporation
180 QUEEN CITY PARK RD                         c/o Andrew McConnell                          c/o NCS
BURLINGTON VT 05401-5935                       180 Queen City Park Rd                        729 Miner Road
                                               Burlington, VT 05401-5935                     Highland Heights, OH 44143-2117


The North Face                                 The North Face Outdoor, LLC                   The Rossignol Group
c/o Biehl & Biehl, Inc.                        13911 Collection Center Dr                    c/o Michael T. Davis, Esq.
PO Box 87410                                   Chicago, IL 60693-0139                        12220 SW First St
Carol Stream, IL 60188-7410                                                                  Beaverton, OR 97005-2889


The Small Business Administration              Thyssenkrupp Elevator                         Triple T Trading Ltd
1545 Hawkins Blvd Ste 202                      PO Box 933004                                 4025 152nd Street NE
El Paso, TX 79925-2654                         Atlanta, GA 31193-3004                        Marysville, WA 98271-8940



(p)US BANK                                     U.S. Outdoor Holding LLC                      U.S. Small Business Administration
PO BOX 5229                                    600 NW 14th Ave Ste A                         Attn: Kathleen L. Bickers, Asst U.S. Att
CINCINNATI OH 45201-5229                       Portland, OR 97209-1737                       U.S. Attorney s Office, District of Oreg
                                                                                             1000 SW Third Avenue, Suite 600
                                                                                             Portland, OR 97204-2936

U.S. Small Business Administration             UPS                                           US Trustee, Portland
Wesley Nell, Attorney                          PO Box 894820                                 620 SW Main St #213
2401 Fourth Avenue                             Los Angeles, CA 90189-4820                    Portland, OR 97205-3026
Suite 400
Seattle, WA 98121-1430

VF Outdoor                                     VF Outdoor                                    VF Outdoor
Icebreaker                                     Smartwool                                     Vans
13911 Collection Center Drive                  32842 Collection Center Dr                    13911 Collection Center Dr
Chicago, IL 60693-0001                         Chicago, IL 60693-0328                        Chicago, IL 60693-0139


VF Outdoor LLC                                 Vanden Bos & Chapman, LLP                     Vans
PO Box 1817                                    319 SW Washington #520                        c/o Biehl & Biehl, Inc.
Appleton, WI 54912-1817                        Portland, OR 97204-2620                       PO Box 87410
                                                                                             Carol Stream, IL 60188-7410


Vista Outdoor/Bell Sports                      Volcom, LLC                                   WESLEY WERICH
6333 North State Hwy 161                       Dept LA 23134                                 U.S. Small Business Administration
Suite 300                                      Pasadena, CA 91185-3134                       2401 4th Ave
Irving, TX 75038-2218                                                                        Ste 450
                                                                                             Seattle, WA 98121-3459
                                        Case 20-32571-dwh11             Doc 140   Filed 03/10/21
Westlife Distribution LLC                             Whalen, Jamie                                        Willamette Valley Accounting LLC
686                                                   2553 N. Argyle St.                                   Attn: Rick Dishner
227 E. Compton Blvd                                   Portland, OR 97217-7021                              POB 817
Gardena, CA 90248-1909                                                                                     Molalla, OR 97038-0817


Willamette Week                                       Wolverine World Wide, Inc.                           Wolverine World Wide, Inc.
2220 NW Quimby St                                     9341 Courtland Drive NE                              9341 Courtland Drive NE
Portland, OR 97210-2624                               9341 Courtland Drive NE                              Rockford, MI 49351-4935
                                                      Rockford, MI 49351-1002


Workman                                               World Famous Sport, Inc.                             c/o CRF Solutions
PO Box 1813                                           Wells Fargo                                          PO Box 1389
Lafayette, CA 94549-8013                              687 Anita Street                                     Simi Valley, CA 93062-1389
                                                      Chula Vista, CA 91911-4693




                    The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                    by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Airblaster, LLC                                       Chase Cardmember Service                             City of Portland
PO Box 430                                            PO Box 6294                                          Revenue/Financial Services
Bend, OR 97703                                        Carol Stream, IL 60197-6294                          1221 SW Fourth Avenue, Rm 430
                                                                                                           Portland, OR 97204


Hestra Gloves, LLC                                    IRS                                                  (d)IRS
12425 W. 54th Drive                                   Attn: Attorney General of United States              PO Box 145595
Arvada, CO 80002                                      10th Constitution NW #4400                           Cincinnati, OH 45250
                                                      Washington, DC 20530


U.S. Bank National Association                        (d)US Bank                                           (d)US Bank Credit Card
Bankruptcy Department                                 Bankruptcy Department                                321 SW 6th Ave.
PO Box 108                                            PO Box 5229                                          Portland, OR 97204
Saint Louis MO 63166-0108                             Cincinnati, OH 45201




                                      Addresses marked (c) above for the following entity/entities were corrected
                                           as required by the USPS Locatable Address Conversion System (LACS).


The Burton Corporation
80 Industrial Parkway
Burlington, VT 05401




                  The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.

                                          Case 20-32571-dwh11                 Doc 140     Filed 03/10/21
(u)Carrie Ariniello                          (u)Edward Ariniello                         (u)Wesley Nell




(d)ODR Bkcy                                  (u)Robert D. Solomon                        (u)Solomon Management, Inc.
955 Center St NE
Salem OR 97301-2555



(u)US Small Business Administration          End of Label Matrix
                                             Mailable recipients    158
                                             Bypassed recipients      7
                                             Total                  165




                                      Case 20-32571-dwh11           Doc 140   Filed 03/10/21
